               Case 2:23-bk-16652-BR                  Doc 1 Filed 10/12/23 Entered 10/12/23 11:38:55                                     Desc
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Flexogenix Group, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  400 Ashville Avenue, Suite 330                                PO Box 125
                                  Cary, NC 27518                                                Artesia, CA 90702
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Wake                                                          Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.flexogenix.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
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Debtor    Flexogenix Group, Inc.                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a                         Central District of
     separate list.                              District   California                   When     3/18/19                    Case number   2:19-bk-12927-BR
                                                 District                                When                                Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor    Flexogenix Group, Inc.                                                                        Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Attachment                                               Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
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Debtor   Flexogenix Group, Inc.                                                      Case number (if known)
         Name

                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    Flexogenix Group, Inc.                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      10/12/2023
                                                  MM / DD / YYYY


                             X                                                                            Iris Whalen
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X    /s/ Jeremy W. Faith                                                      Date 10/12/2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jeremy W. Faith
                                 Printed name

                                 Margulies Faith LLP
                                 Firm name

                                 16030 Ventura Blvd., Suite 470
                                 Encino, CA 91436
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (818) 705-2777                Email address      Jeremy@MarguliesFaithLaw.com

                                 190647 CA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Debtor     Flexogenix Group, Inc.                                                           Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

Case number (if known)                                                   Chapter      11
                                                                                                                      Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Flexogenix Georgia, PC                                                  Relationship to you               Affiliate
District   Central District of California             When     3/18/19             Case number, if known             2:19-bk-12930-BR
Debtor     Flexogenix North Carolina, PC                                           Relationship to you               Affiliate
District   Central District of California             When     3/18/19             Case number, if known             2:19-bk-12929-BR
Debtor     Flexogenix Oklahoma, PC                                                 Relationship to you               Affiliate
District   Central District of California             When     3/18/19             Case number, if known             2:19-bk-12931-BR
Debtor     Whalen Medical Corporation DBA Flexogenix, Inc.                         Relationship to you               Affiliate
District   Central District of California             When     3/18/19             Case number, if known             2:19-bk-12928-BR




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 6
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                           WRITTEN CONSENT OF DIRECTORS OF
                                FLEXOGENIX GROUP, INC.,
                              A CALIFORNIA CORPORATION

        The undersigned, being all of the directors of Flexogenix Group, Inc., a California
corporation (the “Company”), hereby adopts the following resolutions, as authorized by unanimous
written consent:

         WHEREAS, it is in the best interests of the Company, its creditors, shareholders and other
interested parties for the Company to file a voluntary petition for relief, under chapter 11 subchapter
v of title 11, United States Code (the “Bankruptcy Code”); therefore, it is

        RESOLVED, that the Company be, and hereby is, authorized to file a voluntary petition for
relief under chapter 11 subchapter v of the Bankruptcy Code; and it is

         RESOLVED, that Iris Whalen, the President of the Company, be and hereby is authorized
to:

         a.     Execute and verify or certify on behalf of the Company a petition under chapter 11
                subchapter v and to cause the same to be filed in the appropriate United States
                Bankruptcy Court at such time as she shall determine is appropriate; and

         b.     Execute and file all petitions, schedules, lists, statements and other papers and to take
                any and all action that she deems necessary, proper or desirable in connection with
                the chapter 11 subchapter v case for the Company with view toward the successful
                completion of the case; and

         c.     Take all actions, including, without limitation, the retention of counsel, accountants
                and such other professional persons on such terms and conditions as may be
                necessary or appropriate, and to exercise all rights, claims, remedies, privileges, and
                to perform all duties and obligations, as the Company may have as a debtor under
                chapter 11 subchapter v of the Bankruptcy Code and related rules, and to execute and
                deliver all instruments, petitions, agreements, certificates and documents in
                connection therewith, in the name of and on behalf of the Company, as in his
                judgment may be necessary or appropriate to carry out the intent and to accomplish
                the purpose of these resolutions; and it is

      RESOLVED, that the Company be, and hereby is, authorized to employ the law firm of
Margulies Faith LLP, or such other firm as may be appropriate, to represent the Company as
bankruptcy counsel in the chapter 11 subchapter v case for the Company.


            10/12/2023
Dated: _____________________
                                                                  Iris Whalen, President

            10/12/2023
Dated: _____________________
                                                                Sean P. Whalen, Director
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                                 STATEMENT OF RELATED CASES
                              INFORMATION REQUIRED BY LBR 1015-2
               UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s).)
Flexogenix Group, Inc., Chapter 11, Case No. 2:19-bk-12927-BR, filed 3/18/2019, currently pending in the Central District of
California, Debtor
Whalen Medical Corporation DBA Flexogenix, Inc., Chapter 11, Case No. 2:19-bk-12928-BR, filed 3/18/2019, currently pending
in the Central District of California, Affiliate
Flexogenix North Carolina, PC, Chapter 11, Case No. 2:19-bk-12929-BR, filed 3/18/2019, currently pending in the Central
District of California, Affiliate
Flexogenix Georgia, PC, Chapter 11, Case No. 2:19-bk-12930-BR, filed 3/18/2019, currently pending in the Central District of
California, Affiliate
Flexogenix Oklahoma, PC, Chapter 11, Case No. 2:19-bk-12931-BR, filed 3/18/2019, currently pending in the Central District
of California, Affiliate

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
Flexogenix Group, Inc., Chapter 11, Case No. 2:19-bk-12927-BR, filed 3/18/2019, currently pending in the Central District of
California, Debtor
Whalen Medical Corporation DBA Flexogenix, Inc., Chapter 11, Case No. 2:19-bk-12928-BR, currently pending in the filed
3/18/2019, Central District of California, Affiliate
Flexogenix North Carolina, PC, Chapter 11, Case No. 2:19-bk-12929-BR, filed 3/18/2019, currently pending in the Central
District of California, Affiliate
Flexogenix Georgia, PC, Chapter 11, Case No. 2:19-bk-12930-BR, filed 3/18/2019, currently pending in the Central District of
California, Affiliate
Flexogenix Oklahoma, PC, Chapter 11, Case No. 2:19-bk-12931-BR, filed 3/18/2019, currently pending in the Central District
of California, Affiliate
Sean P. Whalen, Chapter 7, Case No. 2:14-bk-31007-RN, filed 11/4/2014, closed 11/10/2015, Central District of California,
Insider

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
   that was filed with any such prior proceeding(s).)
None



                  This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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I declare, under penalty of perjury, that the foregoing is true and correct.

Executed at         Charlotte                                    , North Carolina.
                                                                                                   Iris Whalen
Date:          10/12/2023                                                                          Signature of Debtor 1



                                                                                                    Signature of Debtor 2




                This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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Fill in this information to identify the case:
Debtor name Flexogenix Group, Inc.
United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                             Check if this is an
                                               CALIFORNIA - LOS ANGELES
                                               DIVISION
Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
American Express                                    Allowed general                                                                                           $666,276.69
PO BOX 981535                                       unsecured claim
El Paso, TX                                         as part of
79998-1535                                          confirmed plan in
                                                    Bankruptcy Case
                                                    No. 2:19-bk-12927
American Express                                    Allowed general                                                                                           $118,929.06
PO BOX 981535                                       unsecured claim
El Paso, TX                                         as part of
79998-1535                                          confirmed plan in
                                                    Bankruptcy Case
                                                    No. 2:19-bk-12927
American Express                                    Allowed general                                                                                           $111,574.24
PO BOX 981535                                       unsecured claim
El Paso, TX                                         as part of
79998-1535                                          confirmed plan in
                                                    Bankruptcy Case
                                                    No. 2:19-bk-12927
Bacon Health                                        Business debt                                                                                               $83,416.52
Corp/CG Medical
Device Services
4 Lauren Ave South
Huntington Station,
NY 11746
Bioventus                                           Allowed general                                                                                           $530,775.00
4721 Emperor Blvd                                   unsecured claim
Suite 100                                           as part of
Durham, NC 27703                                    confirmed plan in
                                                    Bankruptcy Case
                                                    No. 2:19-bk-12927
Chase Ink                                           Allowed general                                                                                             $64,010.37
Card Services                                       unsecured claim
PO BOX 15298                                        as part of
Wilmington, DE                                      confirmed plan in
19850                                               Bankruptcy Case
                                                    No. 2:19-bk-12927


Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     Flexogenix Group, Inc.                                                                   Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Chase Sapphire                                      Allowed general                                                                                             $74,603.52
Card Services                                       unsecured claim
PO BOX 15298                                        as part of
Wilmington, DE                                      confirmed plan in
19850                                               Bankruptcy Case
                                                    No. 2:19-bk-12927
Fidia Pharma USA                                    Supplies                                                                                                  $842,497.00
Inc.
100 Campus Drive
Suite 105
Florham Park, NJ
07932
Fidia Pharma USA                                    Allowed general                                                                                           $741,054.00
Inc.                                                unsecured claim
100 Campus Drive                                    as part of
Suite 105                                           confirmed plan in
Florham Park, NJ                                    Bankruptcy Case
07932                                               No. 2:19-bk-12927
Genzyme                                             Allowed general                                                                                           $263,553.00
Corporation                                         unsecured claim
450 Water Street                                    as part of
Cambridge, MA                                       confirmed plan in
02141                                               Bankruptcy Case
                                                    No. 2:19-bk-12927
Griffin                                             Allowed general                                                                                           $105,676.25
Communications                                      unsecured claim
LLC                                                 as part of
dba KWTV-TV                                         confirmed plan in
7401 North Kelley                                   Bankruptcy Case
Ave                                                 No. 2:19-bk-12927
Oklahoma City, OK
73111
Harris Mink Farms                                   Rent                                                                                                      $110,735.50
24790 Kenridge
Road
Caldwell, ID 83607
Internal Revenue                                    Allowed general                                                                                           $345,775.25
Service                                             unsecured claim
PO BOX 7346                                         as part of
Philadelphia, PA                                    confirmed plan in
19101-7346                                          Bankruptcy Case
                                                    No. 2:19-bk-12927
J&J Health Care                                     Allowed general                                                                                           $224,634.84
Systems, Inc                                        unsecured claim
5972 Collections                                    as part of
Center Dr                                           confirmed plan in
Chicago, IL 60693                                   Bankruptcy Case
                                                    No. 2:19-bk-12927




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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Debtor     Flexogenix Group, Inc.                                                                   Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
J&J Healthcare                                      Business debt                                                                                             $154,077.00
Systems, Inc
5972 Collections
Center Dr
Chicago, IL 60693
Pac Western                                         All accounts                                          $163,000.00                        $0.00            $163,000.00
Financial LLC                                       receivables,
222 S Main Street                                   receipts,
5th Floor                                           instruments,
Salt Lake City, UT                                  contract rights,
84101                                               and other rights
                                                    to receive
                                                    payment of
                                                    money, patents,
                                                    chattel paper
Pac Western                                         All accounts                                           $54,000.00                        $0.00              $54,000.00
Financial LLC                                       receivables,
222 S Main Street                                   receipts,
5th Floor                                           instruments,
Salt Lake City, UT                                  contract rights,
84101                                               and other rights
                                                    to receive
                                                    payment of
                                                    money, patents,
                                                    chattel paper
WCNC/WFMY                                           Allowed general                                                                                           $130,841.25
c/o CCR                                             unsecured claim
20 Broad Hollow                                     as part of
Road Suite 1002                                     confirmed plan in
Melville, NY 11747                                  Bankruptcy Case
                                                    No. 2:19-bk-12927
WNCN                                                Allowed general                                                                                             $74,810.00
33096 Collections                                   unsecured claim
Center Drive                                        as part of
Chicago, IL 60693                                   confirmed plan in
                                                    Bankruptcy Case
                                                    No. 2:19-bk-12927
WSB-TV                                              Allowed general                                                                                           $239,721.95
1601 West                                           unsecured claim
Peachtree Street NE                                 as part of
Atlanta, GA 30309                                   confirmed plan in
                                                    Bankruptcy Case
                                                    No. 2:19-bk-12927




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
           Case 2:23-bk-16652-BR                      Doc 1 Filed 10/12/23 Entered 10/12/23 11:38:55                                            Desc
                                                     Main Document    Page 13 of 101
                                                      United States Bankruptcy Court
                                            Central District of California - Los Angeles Division
 In re    Flexogenix Group, Inc.                                                                                  Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Iris Whalen                                                                       82.5%                                      Shareholder
PO BOX 125
Artesia, CA 90702

Jack Miletic                                                                      1%                                         Shareholder
420 Washington Avenue, Apt. 203
Santa Monica, CA 90403

Sean Whalen                                                                       15%                                        Shareholder
PO BOX 125
Artesia, CA 90702

Thomas Howard                                                                     1.5%                                       Shareholder
2754 Lake Waccamaw Trail
Apex, NC 27502


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date      10/12/2023                                                     Signature
                                                                                        Iris Whalen

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
               Case 2:23-bk-16652-BR                                       Doc 1 Filed 10/12/23 Entered 10/12/23 11:38:55                                                                     Desc
                                                                          Main Document    Page 14 of 101
 Fill in this information to identify the case:

 Debtor name            Flexogenix Group, Inc.

                                                               CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
 United States Bankruptcy Court for the:                       DIVISION

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $         201,184.61

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $         201,184.61


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $         298,961.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $          79,108.69

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       6,058,626.35


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          6,436,696.04




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
             Case 2:23-bk-16652-BR                   Doc 1 Filed 10/12/23 Entered 10/12/23 11:38:55                                          Desc
                                                    Main Document    Page 15 of 101
Fill in this information to identify the case:

Debtor name          Flexogenix Group, Inc.

                                             CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
United States Bankruptcy Court for the:      DIVISION

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Wells Fargo Bank, N.A.                            Checking                              8783                                        $100.00




           3.2.     Wells Fargo Bank, N.A.                            Checking                              8791                                         $69.69



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                       $169.69
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
                    Security Deposit held by Maple One Partners, LLC for lease of commercial space
           7.1.     located at 1414 Yanceyville Street, Suite 200, Greensboro, NC 27405                                                           $10,995.00




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                       page 1
             Case 2:23-bk-16652-BR                    Doc 1 Filed 10/12/23 Entered 10/12/23 11:38:55                       Desc
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Debtor            Flexogenix Group, Inc.                                              Case number (If known)
                  Name


                    Security Deposit held by Harris Mink Farms LLC for lease of commercial space located
           7.2.     at 9300 N. Kelley Avenue, Oklahoma City, OK 73131                                                           $20,535.07



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment

9.         Total of Part 2.                                                                                                 $31,530.07
           Add lines 7 through 8. Copy the total to line 81.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

Part 4:           Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.
           General description                Date of the last       Net book value of        Valuation method used   Current value of
                                              physical inventory     debtor's interest        for current value       debtor's interest
                                                                     (Where available)

19.        Raw materials

20.        Work in progress

21.        Finished goods, including goods held for resale

22.        Other inventory or supplies
           See attached Inventory
           list                                                             $135,831.85       Cost                             $135,831.85




23.        Total of Part 5.                                                                                                $135,831.85
           Add lines 19 through 22. Copy the total to line 84.

24.        Is any of the property listed in Part 5 perishable?
            No
            Yes
25.        Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                  49,290.00 Valuation method      Cost                 Current Value         49,290.00

26.        Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                 page 2
           Case 2:23-bk-16652-BR                     Doc 1 Filed 10/12/23 Entered 10/12/23 11:38:55                              Desc
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Debtor       Flexogenix Group, Inc.                                                         Case number (If known)
             Name

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          See attached Office Furniture List                                              $0.00     Liquidation                        $1,372.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          See attached Office Equipment/Computers list                                    $0.00     Liquidation                        $1,015.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $2,387.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
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Debtor       Flexogenix Group, Inc.                                                   Case number (If known)
             Name

50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          See attached Other Equipment list                                         $0.00    Liquidation                          $31,266.00



51.       Total of Part 8.                                                                                                     $31,266.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
           No
           Yes
53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
           No
           Yes
Part 9:      Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and           Net book value of       Valuation method used     Current value of
          property                              extent of            debtor's interest       for current value         debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. Lease of Commercial
                  space located at 6836
                  Morrison Blvd., Suite
                  101, Charlotte, NC            Lease of
                  28211                         property                            $0.00                                                  $0.00


          55.2.   Lease of Commercial
                  space located at 1414
                  Yanceyville Street,
                  Ste. 200, Greensboro,         lease of
                  NC 27405                      property                            $0.00                                                  $0.00


          55.3.   Lease of Commercial
                  space located at 9300
                  N. Kelley Ave.,
                  Oklahoma City, OK             lease of
                  73131                         property                            $0.00                                                  $0.00


          55.4.   Lease of Commercial
                  space located at 400
                  Ashville Ave., Ste.           lease of
                  330, Cary, NC 27518           property                            $0.00                                                  $0.00




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                        page 4
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Debtor        Flexogenix Group, Inc.                                                      Case number (If known)
              Name


56.        Total of Part 9.                                                                                                                 $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                          Net book value of             Valuation method used   Current value of
                                                                        debtor's interest             for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           Registered Service mark: VISCARE-FLEX
           Reg. No. 5,227,621
           Registered June 20, 2017                                                     $0.00                                                 $0.00


           Registered Service mark: KINETI-FLEX
           Reg. No. 5,227,620
           Registered June 20, 2017                                                     $0.00                                                 $0.00


           Registered Trademark/Service mark:
           FLEXOGENIX
           Reg. No. 4,996,388
           Registered July 12, 2016                                                     $0.00                                                 $0.00


           Registered Service mark: NON-SURGICAL
           SOLUTIONS FOR AN ACTIVE LIFESTYLE
           Reg. No. 4,981,880
           Registered June 21, 2016                                                     $0.00                                                 $0.00


           Registered Trademark:
           Flexogenix
           Stylized with color and orange cross on the
           right side
           Trademark has been published for opposition,
           awaiting notice of allowance                                                 $0.00                                                 $0.00



61.        Internet domain names and websites
           Website domain name - www.flexogenix.com                                     $0.00                                                 $0.00



62.        Licenses, franchises, and royalties
           Corporation Registration issued by State of
           California Secretary of State                                                $0.00                                                 $0.00


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 5
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Debtor        Flexogenix Group, Inc.                                                       Case number (If known)
              Name




63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                          Current value of
                                                                                                                          debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

           The Hartford - Workers' Compensation                                                                                             $0.00



           Travelers - Commercial Liability                                                                                                 $0.00



           Travelers - Umbrella Liability                                                                                                   $0.00



74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 6
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Debtor      Flexogenix Group, Inc.                                                  Case number (If known)
            Name



78.      Total of Part 11.                                                                                          $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                  page 7
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Debtor          Flexogenix Group, Inc.                                                                              Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                 $169.69

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $31,530.07

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $135,831.85

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $2,387.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $31,266.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $201,184.61           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $201,184.61




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 8
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                         Flexogenix Group, Inc.
                                  Inventory
           Inventory Type               Location                 Value
                Braces               Cary, NC Clinic         $    17,881.21
              Injectables            Cary, NC Clinic         $    25,951.00
         Medical Procedure Kit       Cary, NC Clinic         $     1,050.00
           Medical Supply            Cary, NC Clinic         $    15,887.22
                Braces             Charlotte, NC Clinic      $     9,641.10
              Injectables          Charlotte, NC Clinic      $    21,695.00
         Medical Procedure Kit     Charlotte, NC Clinic      $     1,050.00
           Medical Supply          Charlotte, NC Clinic      $     9,850.02
                Braces            Greensboro, NC Clinic      $     7,941.82
              Injectables         Greensboro, NC Clinic      $     8,217.33
         Medical Procedure Kit    Greensboro, NC Clinic      $     3,449.00
           Medical Supply         Greensboro, NC Clinic      $    13,218.15
                                           Inventory Total   $   135,831.85
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                            Flexogenix Group, Inc.
                                  Office Furniture
Equipment Type            Description                  Location              Value
   Furniture              Black Desks             Charlotte, NC Clinic     $     10.00
   Furniture         Black Leather Chairs         Charlotte, NC Clinic     $     10.00
   Furniture          Black Leather Sofas         Charlotte, NC Clinic     $     10.00
   Furniture                  Desks              Greensboro, NC Clinic     $     50.00
   Furniture      Ipad Holder & Cup Holder       Greensboro, NC Clinic     $     10.00
   Furniture             Lobby chairs               Cary, NC Clinic        $   230.00
   Furniture               Love Seats               Cary, NC Clinic        $     50.00
   Furniture               Love Seats            Greensboro, NC Clinic     $     20.00
   Furniture           Non-rolling chairs           Cary, NC Clinic        $   190.00
   Furniture          Rolling desk chairs           Cary, NC Clinic        $     50.00
   Furniture          Rolling Desk Chairs        Greensboro, NC Clinic     $     90.00
   Furniture                 Stools                 Cary, NC Clinic        $     50.00
   Furniture              TENS Chairs               Cary, NC Clinic        $   130.00
     Misc              blue rolling stool        Greensboro, NC Clinic     $     30.00
     Misc                 Desk lamps             Greensboro, NC Clinic     $     40.00
     Misc        Floor standing coat/hat rack    Greensboro, NC Clinic     $     10.00
     Misc                  Ikea chairs           Greensboro, NC Clinic     $     60.00
     Misc             Ikea high top table        Greensboro, NC Clinic     $     10.00
     Misc          Ikea regular height table     Greensboro, NC Clinic     $     10.00
     Misc                Lobby chairs            Greensboro, NC Clinic     $   210.00
     Misc             metal file cabinets        Greensboro, NC Clinic     $      1.00
     Misc           Mobile computer carts        Greensboro, NC Clinic     $     10.00
     Misc              Mobile desk units         Greensboro, NC Clinic     $     30.00
     Misc                  Small desk            Greensboro, NC Clinic     $     10.00
     Misc              Umbrella holder           Greensboro, NC Clinic     $      1.00
     Misc             Vertical book shelfs       Greensboro, NC Clinic     $     50.00
                                                    Office Furniture Total $ 1,372.00
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                                   Flexogenix Group, Inc.
                                Office Equipment/Computers
Equipment Type                   Description                       Location                Value
     Copier                  Canon Printer Pixa               Charlotte, NC Clinic     $       10.00
     Copier                  Canon Printer Pixa               Charlotte, NC Clinic     $       10.00
     Copier              HP Office Jet 8620 Printer           Charlotte, NC Clinic     $       10.00
     Copier                    HP ScanJet 2500               Greensboro, NC Clinic     $       20.00
     Copier                    Kyocera Printer                Charlotte, NC Clinic     $       10.00
     Copier                    Ricoh MP C401                Oklahoma City, OK Clinic   $       10.00
    Desktop                           Dell                      Cary, NC Clinic        $       10.00
    Desktop                           Dell                   Greensboro, NC Clinic     $       10.00
    Desktop                  Dell Inspiron 3847                 Cary, NC Clinic        $       10.00
    Desktop                   Dell Optiflex 3040                Cary, NC Office        $       10.00
    Desktop                   Dell Optiflex 3040                Cary, NC Office        $       10.00
    Desktop                   Dell Optiflex 3040                Cary, NC Office        $       10.00
    Desktop                  Dell OptiPlex 3060             Oklahoma City, OK Clinic   $       10.00
    Desktop                  Dell OptiPlex 3060             Oklahoma City, OK Clinic   $       10.00
    Desktop                           HP                        Cary, NC Clinic        $       10.00
    Desktop                           HP                        Cary, NC Clinic        $       10.00
    Desktop                           HP                        Cary, NC Clinic        $       10.00
    Desktop                    HP 18 All in One               Charlotte, NC Clinic     $       10.00
    Desktop                 HP 223 (new 7/2018)               Charlotte, NC Clinic     $       10.00
    Desktop                 HP 223 (new 7/2018)               Charlotte, NC Clinic     $       10.00
    Desktop                        HP- NEW                      Cary, NC Clinic        $       10.00
    Desktop                       HP Prodesk                    Cary, NC Office        $       10.00
    Desktop                     Lenovo C40-05                 Charlotte, NC Clinic     $       10.00
    Desktop                    Lenovo Desktop                Greensboro, NC Clinic     $       10.00
                 Optiplex 3040 Micro Form Factor BTX Item
   Desktop                                                   Greensboro, NC Clinic     $      10.00
                                 # 210-AFWE
    Laptop                            Dell                   Greensboro, NC Clinic     $      10.00
    Laptop                   Dell Inspiron 3558                 Cary, NC Office        $      10.00
    Laptop          Dell Laptop Inspiron 15 3000 series       Charlotte, NC Clinic     $      10.00
    Laptop               Dell Laptop Latitude 3560            Charlotte, NC Clinic     $      10.00
    Laptop                       Dell Latitude               Greensboro, NC Clinic     $      10.00
    Laptop                       Dell Latitude               Greensboro, NC Clinic     $      10.00
    Laptop                   Dell Latitude 3560                 Cary, NC Clinic        $      10.00
    Laptop                   Dell Latitude 3560                 Cary, NC Office        $      10.00
    Laptop        Dell Latitude 3570 BTX Item #210-AEXH      Greensboro, NC Clinic     $      10.00
    Laptop        Dell Latitude 3570 BTX Item #210-AEXH      Greensboro, NC Clinic     $      10.00
    Laptop                   Dell Latitude 3590                 Cary, NC Office        $      10.00
    Laptop                   Dell Latitude 3590                 Cary, NC Office        $      10.00
    Laptop                   Dell Latitude 3590             Oklahoma City, OK Clinic   $      10.00
    Laptop                   Dell Latitude 3590             Oklahoma City, OK Clinic   $      10.00
    Laptop                   Dell Latitude 3590             Oklahoma City, OK Clinic   $      10.00
    Laptop                   Dell Latitude 3590             Oklahoma City, OK Clinic   $      10.00
    Laptop                Dell Latitude 3590 XCTO             Charlotte, NC Clinic     $      10.00
    Laptop                   Dell Lattitude 3590                Cary, NC Office        $      10.00
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                             Office Equipment/Computers
Equipment Type               Description                    Location                Value
    Laptop                        HP                     Cary, NC Clinic        $       10.00
    Laptop            HP 15 I305DX Notebook            Charlotte, NC Clinic     $       10.00
    Laptop                HP 355 G2 Laptop           Oklahoma City, OK Clinic   $       10.00
    Laptop                 HP Intel Core i5              Cary, NC Office        $       10.00
    Laptop                   HP Probook                  Cary, NC Clinic        $       10.00
    Laptop                   HP ProBook               Greensboro, NC Clinic     $       10.00
    Laptop                   HP Probook                  Cary, NC Office        $       10.00
    Laptop               HP Probook 440 G4             Charlotte, NC Clinic     $       10.00
    Laptop               HP ProBook 440 G4               Cary, NC Office        $       10.00
    Laptop                     LENOVO                    Cary, NC Clinic        $       10.00
    Laptop                      Lenovo                   Cary, NC Clinic        $       10.00
    Laptop                  Lenovo 80E3                  Cary, NC Office        $       10.00
    Laptop             Lenovo Thinkpad NJ03           Greensboro, NC Clinic     $       10.00
    Laptop                  MacBook Air                  Cary, NC Office        $       10.00
    Laptop                  MacBook Pro                  Cary, NC Clinic        $       10.00
      Misc              Brother label maker           Greensboro, NC Clinic     $        1.00
      Misc                  Canon C3325i              Greensboro, NC Clinic     $       50.00
      Misc              Dell Docking Station             Cary, NC Office        $       10.00
      Misc                Dirt devil vacuum           Greensboro, NC Clinic     $        1.00
      Misc                   hole punch               Greensboro, NC Clinic     $        1.00
      Misc                   HP scanner               Greensboro, NC Clinic     $       10.00
      Misc              Plantronics Headset              Cary, NC Office        $        1.00
      Misc              Plantronics Headset              Cary, NC Office        $        1.00
      Misc              Plastic 3 drawer cart         Greensboro, NC Clinic     $       10.00
      Misc       Royal Soverign Laminating machine    Greensboro, NC Clinic     $       10.00
      Misc                     Scanner                   Cary, NC Clinic        $       10.00
      Misc           ScanShell ID card scanner        Greensboro, NC Clinic     $        5.00
      Misc          Wall mount magazine holder        Greensboro, NC Clinic     $        5.00
      Misc                  Water Cooler                 Cary, NC Clinic        $        5.00
      Misc                  Water Cooler                 Cary, NC Clinic        $        5.00
      Misc                     Webcam                    Cary, NC Office        $        1.00
    Monitor                Dell E2216GHF                 Cary, NC Office        $       10.00
    Monitor                Dell E2216GHF                 Cary, NC Office        $       10.00
    Monitor                 Dell Monitor                 Cary, NC Office        $       10.00
     Phone                        8x8                    Cary, NC Office        $        1.00
     Phone                        8x8                    Cary, NC Office        $        1.00
     Phone                    8x8 Phone                  Cary, NC Office        $        1.00
     Phone                    8x8 Phone                  Cary, NC Office        $        1.00
     Phone                    8x8 Phone                  Cary, NC Office        $        1.00
     Phone                    8x8 Phone                  Cary, NC Office        $        1.00
     Phone                    8x8 Phone                  Cary, NC Office        $        1.00
     Phone                    8x8 Phone                  Cary, NC Office        $        1.00
     Phone                    8x8 Phone                  Cary, NC Office        $        1.00
     Phone                   8x8 Phones                  Cary, NC Clinic        $       24.00
     Phone                   8x8 Phones                Charlotte, NC Clinic     $        6.00
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                            Office Equipment/Computers
Equipment Type               Description                            Location             Value
     Phone                 Apple IPhone 7                     Greensboro, NC Clinic  $       10.00
    Printer            HP OfficeJet Pro 7740                     Cary, NC Clinic     $       20.00
    Printer            HP Officejet Pro 8710                     Cary, NC Office     $       10.00
     Tablet                  iPad 4 Silver                       Cary, NC Clinic     $       10.00
     Tablet             iPad 4th Generation                    Charlotte, NC Clinic  $      10.00
     Tablet             iPad 4th Generation                    Charlotte, NC Clinic  $      10.00
     Tablet             iPad 4th Generation                    Charlotte, NC Clinic  $       10.00
     Tablet             iPad 4th Generation                    Charlotte, NC Clinic  $       10.00
     Tablet             iPad 4th Generation                   Greensboro, NC Clinic  $      10.00
     Tablet             iPad 5th Generation                      Cary, NC Clinic     $       20.00
     Tablet             iPad 5th Generation                      Cary, NC Clinic     $       20.00
     Tablet             iPad 5th Generation                      Cary, NC Clinic     $       20.00
     Tablet             iPad 5th Generation                      Cary, NC Clinic     $       20.00
     Tablet             iPad 5th Generation                      Cary, NC Clinic     $       20.00
     Tablet       iPad Air 2 wi-fi 16 GB Space Gray           Greensboro, NC Clinic  $       10.00
     Tablet       iPad Air 2 wi-fi 16 GB Space Gray           Greensboro, NC Clinic  $       10.00
     Tablet      iPad Pro 9.7 inch wi-fi 32 GB Gold           Greensboro, NC Clinic  $       10.00
                                                    Office Equipment/Computers Total $   1,015.00
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                            Flexogenix Group, Inc.
                                 Other Equipment
Equipment Type             Description                    Location                Value
     C-arm            Mini C-Arm - Hologic          Greensboro, NC Clinic     $   2,000.00
     C-arm            Mini C-Arm - Hologic          Greensboro, NC Clinic     $   2,000.00
     C-arm            Mini C-Arm - Hologic         Oklahoma City, OK Clinic   $   2,000.00
     C-arm            Mini C-Arm - Hologic         Oklahoma City, OK Clinic   $   2,000.00
     C-arm            Mini C-Arm - Hologic         Oklahoma City, OK Clinic   $   2,000.00
     C-arm            Mini C-Arm - Hologic         Oklahoma City, OK Clinic   $   2,000.00
     C-arm            Mini C-Arm - Hologic         Oklahoma City, OK Clinic   $   2,000.00
     C-arm            Mini C-ARM Hologic               Cary, NC Clinic        $   2,000.00
     C-arm            Mini C-ARM Hologic               Cary, NC Clinic        $   2,000.00
     C-arm            Mini C-ARM Hologic               Cary, NC Clinic        $   2,000.00
     C-arm            Mini C-ARM Hologic               Cary, NC Clinic        $   2,000.00
     C-arm            Mini C-ARM Hologic             Charlotte, NC Clinic     $   2,000.00
     C-arm            Mini C-ARM Hologic             Charlotte, NC Clinic     $   2,000.00
     C-arm            Mini C-ARM Hologic             Charlotte, NC Clinic     $   2,000.00
 KF Equipment              sets of clips             Charlotte, NC Clinic     $        1.00
 KF Equipment     Ankle Weights Various weight         Cary, NC Clinic        $       10.00
 KF Equipment     Ankle Weights Various weight       Charlotte, NC Clinic     $       10.00
 KF Equipment             Assault Bike               Charlotte, NC Clinic     $       10.00
 KF Equipment             Balance ball              Greensboro, NC Clinic     $        5.00
 KF Equipment              Barbell rack              Charlotte, NC Clinic     $       10.00
 KF Equipment                Barbells                Charlotte, NC Clinic     $       25.00
 KF Equipment          Bariatric Mat Table             Cary, NC Clinic        $       10.00
 KF Equipment          Bariatric Mat Table           Charlotte, NC Clinic     $       10.00
 KF Equipment              Battle rope               Charlotte, NC Clinic     $       10.00
 KF Equipment                 Bench                  Charlotte, NC Clinic     $       10.00
 KF Equipment              Big hurdles               Charlotte, NC Clinic     $       10.00
 KF Equipment         Bosu balance trainer          Greensboro, NC Clinic     $        5.00
 KF Equipment               Bosu ball                  Cary, NC Clinic        $        5.00
 KF Equipment               BOSU ball                Charlotte, NC Clinic     $       10.00
 KF Equipment                 boxes                  Charlotte, NC Clinic     $       10.00
 KF Equipment      Cardon Rehab/Speed Pulley         Charlotte, NC Clinic     $       50.00
 KF Equipment                 Cones                  Charlotte, NC Clinic     $        5.00
 KF Equipment        cross symmetry bands            Charlotte, NC Clinic     $        1.00
 KF Equipment       Cybex Prestige Leg Press         Charlotte, NC Clinic     $       50.00
 KF Equipment            Dumbbell rack               Charlotte, NC Clinic     $      10.00
 KF Equipment         Dumbells 1lb - 10lbs          Greensboro, NC Clinic     $       20.00
 KF Equipment       Dumbells Various weight            Cary, NC Clinic        $       25.00
 KF Equipment       Dumbells Various weight          Charlotte, NC Clinic     $       25.00
 KF Equipment          Floor agility ladder          Charlotte, NC Clinic     $       10.00
 KF Equipment          FMS Equipment set             Charlotte, NC Clinic     $       10.00
 KF Equipment          foam balance block            Charlotte, NC Clinic     $       10.00
 KF Equipment             Foam Rollers                 Cary, NC Clinic        $        1.00
 KF Equipment             foam rollers               Charlotte, NC Clinic     $       10.00
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                                     Other Equipment
 Equipment Type                   Description                Location              Value
                    Hausmann mobile dumbbell weight
  KF Equipment                                         Greensboro, NC Clinic   $      10.00
                                   holder (2)
  KF Equipment                       hurdles            Charlotte, NC Clinic   $      10.00
  KF Equipment                    Kettle bells            Cary, NC Clinic      $      10.00
  KF Equipment                    Kettlebells           Charlotte, NC Clinic   $      25.00
  KF Equipment                      Leg Press             Cary, NC Clinic      $      50.00
  KF Equipment              Looped TheraBand's          Charlotte, NC Clinic   $      10.00
  KF Equipment              Massage stick roller        Charlotte, NC Clinic   $      10.00
  KF Equipment                 Medicine balls           Charlotte, NC Clinic   $      10.00
  KF Equipment                   Parallel Bars            Cary, NC Clinic      $      10.00
  KF Equipment            Parallel dip station bars     Charlotte, NC Clinic   $      10.00
  KF Equipment                   Parrellel bars        Greensboro, NC Clinic   $      10.00
  KF Equipment                     Physioball             Cary, NC Clinic      $       5.00
  KF Equipment      PhysioStep LXT/Recumbent Stepper    Charlotte, NC Clinic   $      50.00
  KF Equipment            Plates (various weights)      Charlotte, NC Clinic   $      25.00
  KF Equipment               Plyometric boxes           Charlotte, NC Clinic   $      10.00
  KF Equipment                  PT Mat Tables             Cary, NC Clinic      $      10.00
  KF Equipment                  PT Mat Tables           Charlotte, NC Clinic   $      10.00
  KF Equipment              PT treatment tables        Greensboro, NC Clinic   $      30.00
  KF Equipment         Recumbent Stepper- NuStep          Cary, NC Clinic      $      50.00
  KF Equipment               Resistance bands           Charlotte, NC Clinic   $       1.00
  KF Equipment                       Rower              Charlotte, NC Clinic   $      10.00
  KF Equipment                        Scale             Charlotte, NC Clinic   $      10.00
  KF Equipment                     Slam balls           Charlotte, NC Clinic   $      10.00
  KF Equipment                        Sled              Charlotte, NC Clinic   $      10.00
  KF Equipment                   Spri Xercuffs          Charlotte, NC Clinic   $       1.00
  KF Equipment                    Squat rack            Charlotte, NC Clinic   $      10.00
  KF Equipment                  Stability balls         Charlotte, NC Clinic   $       5.00
  KF Equipment                   stability disk         Charlotte, NC Clinic   $      10.00
  KF Equipment         Stepping platform and risers       Cary, NC Clinic      $       5.00
  KF Equipment                        Strap             Charlotte, NC Clinic   $       1.00
  KF Equipment                    Tennis Balls          Charlotte, NC Clinic   $       1.00
  KF Equipment                     Therastick             Cary, NC Clinic      $       5.00
  KF Equipment                      Trx band            Charlotte, NC Clinic   $       1.00
  KF Equipment               Water cooler (tall)        Charlotte, NC Clinic   $      10.00
  KF Equipment         Weight balls Various weight        Cary, NC Clinic      $      10.00
  KF Equipment         Weight balls Various weight      Charlotte, NC Clinic   $      10.00
  KF Equipment                   Wheel chair           Greensboro, NC Clinic   $      10.00
  KF Equipment                  Wobble board            Charlotte, NC Clinic   $      10.00
  KF Equipment               Wooden platforms           Charlotte, NC Clinic   $      10.00
  KF Equipment                     Yoga Mats            Charlotte, NC Clinic   $       1.00
Medical Equipment           Advanced Icart 110V           Cary, NC Clinic      $       5.00
Medical Equipment               C1-5-RS Probe             Cary, NC Clinic      $      50.00
Medical Equipment           Hill Adjustable Chair         Cary, NC Clinic      $     100.00
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                                       Other Equipment
 Equipment Type                  Description                      Location              Value
Medical Equipment          Hill Adjustable Chair               Cary, NC Clinic        $   100.00
Medical Equipment          Hill Adjustable Chair               Cary, NC Clinic        $   100.00
Medical Equipment          Hill Adjustable Chair             Charlotte, NC Clinic     $   100.00
Medical Equipment          Hill Adjustable Chair             Charlotte, NC Clinic     $   100.00
Medical Equipment          Hill Adjustable Chair             Charlotte, NC Clinic     $   100.00
Medical Equipment          Hill Adjustable Chair            Greensboro, NC Clinic     $   100.00
Medical Equipment          Hill Adjustable Chair            Greensboro, NC Clinic     $   100.00
Medical Equipment          Hill Adjustable Chair            Greensboro, NC Clinic     $   100.00
Medical Equipment               Hill lab chairs            Oklahoma City, OK Clinic   $   100.00
Medical Equipment               Hill lab chairs            Oklahoma City, OK Clinic   $   100.00
Medical Equipment               Hill lab chairs            Oklahoma City, OK Clinic   $   100.00
Medical Equipment             L4-12t-RS Probe                  Cary, NC Clinic        $     50.00
Medical Equipment                 U/S - chair               Greensboro, NC Clinic     $     50.00
Medical Equipment             Ultrasound Chair                 Cary, NC Clinic        $    50.00
Medical Equipment             Ultrasound Chair                 Cary, NC Clinic        $    50.00
      Misc                 6 1/2' Christmas tree            Greensboro, NC Clinic     $     10.00
      Misc              Blue locker unit (18 lockers)       Greensboro, NC Clinic     $     10.00
      Misc                   Dirt Devil Vacuum              Greensboro, NC Clinic     $      1.00
      Misc                   Emcyte centrifuge              Greensboro, NC Clinic     $     50.00
      Misc                 Health O Meter scale             Greensboro, NC Clinic     $     20.00
      Misc                   IV holder pole (2)             Greensboro, NC Clinic     $     10.00
      Misc                         LG Dryer                 Greensboro, NC Clinic     $     40.00
                     LG Dryer 4.2 cu ft White Stackable
      Misc                                                     Cary, NC Clinic        $      40.00
                               Electric Dryer
                     LG Dryer 4.2 cu ft White Stackable
      Misc                                                   Charlotte, NC Clinic     $      40.00
                               Electric Dryer
      Misc                    LG Refridgerator              Greensboro, NC Clinic     $      25.00
      Misc                      LG Television                Charlotte, NC Clinic     $      20.00
      Misc                      LG Television                Charlotte, NC Clinic     $      20.00
                    LG Washer 2.3 Cu ft White Stackable-
      Misc                                                     Cary, NC Clinic        $      40.00
                                 Front Load
                    LG Washer 2.3 Cu ft White Stackable-
      Misc                                                   Charlotte, NC Clinic     $      40.00
                                 Front Load
      Misc                 LG Washing machine               Greensboro, NC Clinic     $      40.00
      Misc                  Magic Chef Freezer              Greensboro, NC Clinic     $       1.00
      Misc                       Mayo stand                 Greensboro, NC Clinic     $      10.00
      Misc                      Moving dolly                Greensboro, NC Clinic     $      10.00
      Misc             Omron blood pressure monitor         Greensboro, NC Clinic     $      10.00
      Misc                      SkinAct Chair               Greensboro, NC Clinic     $      10.00
      Misc               Small Black Fridge 2.6 cu ft        Charlotte, NC Clinic     $      25.00
      Misc            SunTech bllood pressure monitor       Greensboro, NC Clinic     $      10.00
      Misc                       TENS Chairs                Greensboro, NC Clinic     $     130.00
      Misc                 Wal-Mart mircrowave              Greensboro, NC Clinic     $       5.00
      Misc                     Water Coolers                Greensboro, NC Clinic     $      20.00
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                                 Other Equipment
Equipment Type            Description                     Location             Value
     Misc          Westinghouse Microwave           Greensboro, NC Clinic   $       5.00
     Misc         White Chest Freezer 7.1 Cu ft        Cary, NC Clinic      $      10.00
     Misc         White Chest Freezer 7.1 Cu ft      Charlotte, NC Clinic   $      20.00
     Misc           Winco blood draw chair          Greensboro, NC Clinic   $      25.00
      TV                   Apple TV                 Greensboro, NC Clinic   $      10.00
      TV                 LG Television                 Cary, NC Clinic      $      20.00
      TV           Planar TV model: UR7551          Greensboro, NC Clinic   $      10.00
     U/S                Butterfly Probe              Charlotte, NC Clinic   $      50.00
     U/S                 Terason t3200             Oklahoma City, OK Clinic $      50.00
     U/S              Ultrasound Terason               Cary, NC Clinic      $      50.00
     U/S              Ultrasound Terason             Charlotte, NC Clinic   $      50.00
                                                      Other Equipment Total $ 31,266.00
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                                                           Main Document    Page 32 of 101
Fill in this information to identify the case:

Debtor name          Flexogenix Group, Inc.

                                                   CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
United States Bankruptcy Court for the:            DIVISION

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1    Bluevine                                     Describe debtor's property that is subject to a lien                  $81,961.00              $201,184.61
       Creditor's Name                              All Client's now owned and hereafter
                                                    acquired Accounts, Chattel Paper, Goods,
                                                    Instruments, Investment Property,
                                                    Documents, Letter
                                                    of Credit Rights, Commercial Tort Claims,
       401 Warren Street                            Deposit Accounts and General Intangibles
       Redwood City, CA 94063
       Creditor's mailing address                   Describe the lien
                                                    Business loan
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       12/2022                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



2.2    Pac Western Financial LLC                    Describe debtor's property that is subject to a lien                $163,000.00                         $0.00
       Creditor's Name                              All accounts receivables, receipts,
                                                    instruments, contract rights, and other rights
                                                    to receive payment of money, patents, chattel
       222 S Main Street 5th Floor                  paper
       Salt Lake City, UT 84101
       Creditor's mailing address                   Describe the lien
                                                    Business Loan
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       7/2023                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 2
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Debtor       Flexogenix Group, Inc.                                                                Case number (if known)
             Name

       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.



2.3    Pac Western Financial LLC                   Describe debtor's property that is subject to a lien                      $54,000.00                    $0.00
       Creditor's Name                             All accounts receivables, receipts,
                                                   instruments, contract rights, and other rights
                                                   to receive payment of money, patents, chattel
       222 S Main Street 5th Floor                 paper
       Salt Lake City, UT 84101
       Creditor's mailing address                  Describe the lien
                                                   Business Loan
                                                   Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
       7/2023                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $298,961.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                             you enter the related creditor?    account number for
                                                                                                                                                this entity
        Bluevine
        830 3rd Street                                                                                      Line   2.1
        Gretna, LA 70053

        Bluevine
        111 Town Square Place                                                                               Line   2.1
        Jersey City, NJ 07310




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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Fill in this information to identify the case:

Debtor name        Flexogenix Group, Inc.

                                                CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
United States Bankruptcy Court for the:         DIVISION

Case number (if known)
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $2,086.53        $2,086.53
          Aeisha S Allen                                      Check all that apply.
          11730 Fiddlers Roof Ln                               Contingent
          Charlotte, NC 28277                                  Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
          10/2023                                             Wages
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $1,306.20        $1,306.20
          Aliya Omotohanmen                                   Check all that apply.
          67 Victoria Heights Drive                            Contingent
          Dallas, GA 30132                                     Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
          10/2023                                             Wages
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Flexogenix Group, Inc.                                                                   Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,009.62     $6,009.62
         Amit Jangam                                        Check all that apply.
         600 Carraway Crossing Apt 1106                      Contingent
         Chapel Hill, NC 27516                               Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,204.00     $1,204.00
         Angelina Evans                                     Check all that apply.
         1749 N Serrano Ave Apt 207                          Contingent
         Los Angeles, CA 90027                               Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $992.00      $992.00
         Anita Tiwari                                       Check all that apply.
         224 Vista Brooke Drive                              Contingent
         Morrisville, NC 27560                               Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $971.22      $971.22
         Anna Gordea                                        Check all that apply.
         109 Holly Bay Ln                                    Contingent
         Holly Springs, NC 27540                             Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes




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Debtor      Flexogenix Group, Inc.                                                                   Case number (if known)
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $600.00      $600.00
         Ayshea Vann                                        Check all that apply.
         9808 Walkers Glen Drive NW                          Contingent
         Concord, NC 28027                                   Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $653.00      $653.00
         Caleb Buehner                                      Check all that apply.
         2504 Evers Drive                                    Contingent
         Raleigh, NC 27610                                   Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $780.60      $780.60
         Christine Jerome                                   Check all that apply.
         1605 Cane Creek Drive                               Contingent
         Garner, NC 27529                                    Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $11,112.51     $5,028.43
         City of Los Angeles                                Check all that apply.
         Office of Finance                                   Contingent
         200 North Spring Street                             Unliquidated
         Room 101                                            Disputed
         Los Angeles, CA 90012
         Date or dates debt was incurred                    Basis for the claim:
                                                            City Taxes
         Last 4 digits of account number 1069               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




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Debtor      Flexogenix Group, Inc.                                                                   Case number (if known)
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,004.40     $1,004.40
         Dione Butler                                       Check all that apply.
         221 Coley Farm Road                                 Contingent
         Fuquay Varina, NC 27526                             Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00      $0.00
         Franchise Tax Board                                Check all that apply.
         Bankruptcy Section MS A340                          Contingent
         PO BOX 2952                                         Unliquidated
         Sacramento, CA 95812-2952                           Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For notice purposes only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,076.00     $1,076.00
         Gina Morales                                       Check all that apply.
         8458 Loxton Circle                                  Contingent
         Charlotte, NC 28214                                 Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $691.26      $691.26
         Guadalupe Aceveo Tirado                            Check all that apply.
         15 Tucker Farm Cir                                  Contingent
         Angier, NC 27501                                    Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes




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Debtor      Flexogenix Group, Inc.                                                                   Case number (if known)
            Name

2.15     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $655.50      $655.50
         Heather Conard                                     Check all that apply.
         7603 Taft Place                                     Contingent
         Indian Trail, NC 28079                              Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.16     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $695.30      $695.30
         Heba Atwy                                          Check all that apply.
         15520 Baltinglass Court                             Contingent
         Charlotte, NC 28273                                 Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.17     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00      $0.00
         Internal Revenue Service                           Check all that apply.
         PO BOX 7346                                         Contingent
         Philadelphia, PA 19101-7346                         Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            For notice purposes only
         Last 4 digits of account number 2975               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.18     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,010.88     $1,010.88
         Jennifer Charles                                   Check all that apply.
         8 Foxfire Court                                     Contingent
         Greensboro, NC 27410                                Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes




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2.19     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,153.60     $1,153.60
         Jennifer Gosha Daniels                             Check all that apply.
         2521 Sandy Ridge Road                               Contingent
         High Point, NC 27265                                Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.20     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,329.59     $6,329.59
         Los Angeles County Treasurer                       Check all that apply.
         and Tax Collector                                   Contingent
         500 W Temple St                                     Unliquidated
         Los Angeles, CA 90012                               Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.21     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,999.03     $1,999.03
         Lynne A Ridgel                                     Check all that apply.
         965 North 16th East                                 Contingent
         Mountain Home, ID 83647                             Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.22     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $259.38      $259.38
         Mecklenburg County Tax Collector                   Check all that apply.
         3205 Freedom Dr Suite 3000                          Contingent
         Charlotte, NC 28208                                 Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




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2.23     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $893.40      $893.40
         Melissa McKenna                                    Check all that apply.
         1122 Medlin Road                                    Contingent
         Durham, NC 27707                                    Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.24     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $2,065.58     $2,065.58
         Rene L McClanahan                                  Check all that apply.
         1026 E Woodcrest Dr                                 Contingent
         Raleigh, NC 27603                                   Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.25     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $673.54      $673.54
         Sallie Young                                       Check all that apply.
         646 4th Street Northeast                            Contingent
         Hickory, NC 28601                                   Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.26     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $25,000.02     $15,150.00
         Sean Whalen                                        Check all that apply.
         PO BOX 125                                          Contingent
         Artesia, CA 90702                                   Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Unpaid salary
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes




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2.27     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,390.00     $1,390.00
         Sejal Mankad                                       Check all that apply.
         1937 Custom Lane                                    Contingent
         Apex, NC 27502                                      Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.28     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,100.00     $2,100.00
         Shannon E Boyd                                     Check all that apply.
         8132 Green Lantern St                               Contingent
         Raleigh, NC 27613                                   Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.29     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,143.00     $1,143.00
         Tate Marihew                                       Check all that apply.
         166 True Blue Drive                                 Contingent
         Broadway, NC 27505                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.30     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,403.94     $1,403.94
         Thomas M Howard                                    Check all that apply.
         2754 Lake Waccamaw Trl                              Contingent
         Apex, NC 27502                                      Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes




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2.31     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,125.85     $1,125.85
         Thomas O'Farrell                                   Check all that apply.
         133 Cypress Landing Drive                           Contingent
         Mooresville, NC 28117                               Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.32     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $216.00      $216.00
         Waynetta Knight                                    Check all that apply.
         1130 Waterlyn Dr                                    Contingent
         Greensboro, NC 27405                                Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.33     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $163.26      $163.26
         Wendy Hare                                         Check all that apply.
         2411 Quaker Landing Road                            Contingent
         Greensboro, NC 27455                                Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.34     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,174.04     $2,174.04
         Yaoshan Vivian Lung                                Check all that apply.
         11514 215th St Unit 3                               Contingent
         Lakewood, CA 90715                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
         10/2023                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes




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2.35       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $169.44     $169.44
           Yi Pei Lu                                            Check all that apply.
           18821 Carreta Dr                                      Contingent
           Rowland Heights, CA 91748                             Unliquidated
                                                                 Disputed
           Date or dates debt was incurred                      Basis for the claim:
           10/2023                                              Wages
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                 $6,669.70
          310 Architecture + Interiors PA                                      Contingent
          302 Jefferson Street                                                 Unliquidated
          Suite 250                                                            Disputed
          Raleigh, NC 27605
                                                                              Basis for the claim: Business debt
          Date(s) debt was incurred
          Last 4 digits of account number                                     Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                 $2,273.20
          4imprint                                                             Contingent
          101 Commerce St                                                      Unliquidated
          Oshkosh, WI 54901                                                    Disputed
          Date(s) debt was incurred 9/1/2021
                                                                              Basis for the claim: Allowed general unsecured claim as part of
          Last 4 digits of account number 3740                                confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                              Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                 $5,229.04
          8X8, Inc.                                                            Contingent
          Dept. 848080                                                         Unliquidated
          Los Angeles, CA 90084-8080                                           Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: Phone System
          Last 4 digits of account number 9086
                                                                              Is the claim subject to offset?    No  Yes
3.4       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                $23,680.00
          Accell Orthopedics, Inc                                              Contingent
          800 Delaware Ave                                                     Unliquidated
          Wilmington, DE 19801                                                 Disputed
          Date(s) debt was incurred 9/1/2021
                                                                              Basis for the claim: Allowed general unsecured claim as part of
          Last 4 digits of account number N/A                                 confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                              Is the claim subject to offset?    No  Yes
3.5       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                 $1,564.19
          Aetna Inc                                                            Contingent
          151 Farminton Avenue                                                 Unliquidated
          Hartford, CT 06156                                                   Disputed
          Date(s) debt was incurred 9/1/2021
                                                                              Basis for the claim: Allowed general unsecured claim as part of
          Last 4 digits of account number                                     confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                              Is the claim subject to offset?    No  Yes

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Debtor      Flexogenix Group, Inc.                                                          Case number (if known)
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3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,311.44
         Aetna Inc                                                  Contingent
         151 Farminton Avenue                                       Unliquidated
         Hartford, CT 06156                                         Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $3,101.55
         Amazon                                                     Contingent
         PO BOX 960013                                              Unliquidated
         ORLANDO, FL 32896-0013                                     Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $666,276.69
         American Express                                           Contingent
         PO BOX 981535                                              Unliquidated
         El Paso, TX 79998-1535                                     Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number 1000                      confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $118,929.06
         American Express                                           Contingent
         PO BOX 981535                                              Unliquidated
         El Paso, TX 79998-1535                                     Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number 1003                      confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $111,574.24
         American Express                                           Contingent
         PO BOX 981535                                              Unliquidated
         El Paso, TX 79998-1535                                     Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number 2001                      confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $4,770.27
         Aramark Refreshment Services LLC                           Contingent
         5880 Nolensville Pike                                      Unliquidated
         Nashville, TN 37211                                        Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes




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3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $4,055.00
         Aspen Medical Products                                     Contingent
         6481 Oak Canyon                                            Unliquidated
         Irvine, CA 92618                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number O001
                                                                   Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $83,416.52
         Bacon Health Corp/CG Medical                               Contingent
         Device Services                                            Unliquidated
         4 Lauren Ave South                                         Disputed
         Huntington Station, NY 11746
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $42,975.23
         Bank of America                                            Contingent
         PO BOX 982234                                              Unliquidated
         El Paso, TX 79998-2234                                     Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number 0144                      confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $30,571.41
         Bank of America                                            Contingent
         PO BOX 982234                                              Unliquidated
         El Paso, TX 79998-2234                                     Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $774.00
         Bigleaf Networks                                           Contingent
         2850 SW Cedar Hills Blvd Suite 130                         Unliquidated
         Beaverton, OR 97005-1354                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: IT Services
         Last 4 digits of account number 0437
                                                                   Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $530,775.00
         Bioventus                                                  Contingent
         4721 Emperor Blvd                                          Unliquidated
         Suite 100                                                  Disputed
         Durham, NC 27703
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Date(s) debt was incurred 9/1/2021
                                                                   confirmed plan in Bankruptcy Case No. 2:19-bk-12927
         Last 4 digits of account number 1636
                                                                   Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $31,453.00
         Bioventus                                                  Contingent
         4721 Emperor Blvd                                          Unliquidated
         Suite 100                                                  Disputed
         Durham, NC 27703
                                                                   Basis for the claim: Business Debt
         Date(s) debt was incurred
         Last 4 digits of account number 1636                      Is the claim subject to offset?    No  Yes


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3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,762.03
         Bizmatics, Inc.                                            Contingent
         4010 Moorpark Ave., # 222                                  Unliquidated
         San Jose, CA 95117                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number 1515
                                                                   Is the claim subject to offset?    No  Yes
3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $19,485.00
         Bluevine                                                   Contingent
         401 Warren Street                                          Unliquidated
         Redwood City, CA 94063                                     Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $21,898.29
         Capital One, N.A.                                          Contingent
         1680 Capital One Drive                                     Unliquidated
         Mc Lean, VA 22102                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $550.00
         Capitol Cleaning OKC LP                                    Contingent
         11625 N. Santa Fe, Suite A                                 Unliquidated
         Oklahoma City, OK 73114                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Cleaning services
         Last 4 digits of account number N/A
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $3,600.00
         Cervos Medical                                             Contingent
         475 School Street, Suite 12                                Unliquidated
         Marshfield, MA 02050                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $29,141.00
         Chase Freedom                                              Contingent
         Card Services                                              Unliquidated
         PO BOX 15298                                               Disputed
         Wilmington, DE 19850
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Date(s) debt was incurred 9/1/2021
                                                                   confirmed plan in Bankruptcy Case No. 2:19-bk-12927
         Last 4 digits of account number 0369
                                                                   Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $64,010.37
         Chase Ink                                                  Contingent
         Card Services                                              Unliquidated
         PO BOX 15298                                               Disputed
         Wilmington, DE 19850
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Date(s) debt was incurred 9/1/2021
                                                                   confirmed plan in Bankruptcy Case No. 2:19-bk-12927
         Last 4 digits of account number 3121
                                                                   Is the claim subject to offset?    No  Yes



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3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $74,603.52
         Chase Sapphire                                             Contingent
         Card Services                                              Unliquidated
         PO BOX 15298                                               Disputed
         Wilmington, DE 19850
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Date(s) debt was incurred 9/1/2021
                                                                   confirmed plan in Bankruptcy Case No. 2:19-bk-12927
         Last 4 digits of account number 5233
                                                                   Is the claim subject to offset?    No  Yes
3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $17,503.05
         Chase Slate                                                Contingent
         Card Services                                              Unliquidated
         PO BOX 15298                                               Disputed
         Wilmington, DE 19850
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Date(s) debt was incurred 9/1/2021
                                                                   confirmed plan in Bankruptcy Case No. 2:19-bk-12927
         Last 4 digits of account number 7217
                                                                   Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $139.00
         CISLO&THOMAS LLP                                           Contingent
         12100 Wilshire Blvd Suite 1700                             Unliquidated
         Los Angeles, CA 90025-7103                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Services
         Last 4 digits of account number N/A
                                                                   Is the claim subject to offset?    No  Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $3,720.25
         CISLO&THOMAS LLP                                           Contingent
         12100 Wilshire Blvd Suite 1700                             Unliquidated
         Los Angeles, CA 90025-7103                                 Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $20,240.02
         Citibank                                                   Contingent
         PO BOX 6500                                                Unliquidated
         Sioux Falls, SD 57117-6500                                 Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number 1299                      confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $6,084.08
         City of Los Angeles                                        Contingent
         Office of Finance                                          Unliquidated
         200 North Spring Street                                    Disputed
         Room 101
         Los Angeles, CA 90012                                     Basis for the claim: Allowed general unsecured claim as part of
                                                                   confirmed plan in Bankruptcy Case No. 2:19-bk-12927
         Date(s) debt was incurred 9/1/2021
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $52,287.61
         Clark Trevithick                                           Contingent
         445 S Figueroa Street                                      Unliquidated
         18th Floor                                                 Disputed
         Los Angeles, CA 90071
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Date(s) debt was incurred 9/1/2021
                                                                   confirmed plan in Bankruptcy Case No. 2:19-bk-12927
         Last 4 digits of account number 4001
                                                                   Is the claim subject to offset?    No  Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $3,150.00
         CORFLEX                                                    Contingent
         669 East Industrial Park Drive                             Unliquidated
         Manchester, NH 03109                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number 2751
                                                                   Is the claim subject to offset?    No  Yes
3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $9,450.00
         Cross Country Locums/Mint Physician                        Contingent
         Staffing                                                   Unliquidated
         6551 Park of Commerce Blvd                                 Disputed
         Boca Raton, FL 33487
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $11,250.00
         De Forest & Associates, Inc                                Contingent
         1145 Artesia Boulevard, #203                               Unliquidated
         Manhattan Beach, CA 90266                                  Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number N/A                       confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $87.70
         DEX Imaging                                                Contingent
         5109 W Lemon Street                                        Unliquidated
         Tampa, FL 33609                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number 7HEN
                                                                   Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $3,750.00
         Diagnostic Physics Inc                                     Contingent
         1710 Camden Unit 47                                        Unliquidated
         Charlotte, NC 28203                                        Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number N/A                       confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,012.45
         DJO, LLC                                                   Contingent
         5919 Sea Otter Place                                       Unliquidated
         Suite 200                                                  Disputed
         Carlsbad, CA 92010
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Date(s) debt was incurred 9/1/2021
                                                                   confirmed plan in Bankruptcy Case No. 2:19-bk-12927
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes


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3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $2,920.00
         DMVHUB                                                     Contingent
         PO BOX 1021                                                Unliquidated
         Fuquay Varina, NC 27526                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $2,100.00
         Elite2 LLC                                                 Contingent
         5 Saratoga Dr                                              Unliquidated
         Collegeville, PA 19426                                     Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $916.02
         FedEx Corporate Services Inc                               Contingent
         3895 Airways Blvd, Module G                                Unliquidated
         3rd Floor                                                  Disputed
         Memphis, TN 38116-5017
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Date(s) debt was incurred 9/1/2021
                                                                   confirmed plan in Bankruptcy Case No. 2:19-bk-12927
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $741,054.00
         Fidia Pharma USA Inc.                                      Contingent
         100 Campus Drive                                           Unliquidated
         Suite 105                                                  Disputed
         Florham Park, NJ 07932
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Date(s) debt was incurred 9/1/2021
                                                                   confirmed plan in Bankruptcy Case No. 2:19-bk-12927
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $842,497.00
         Fidia Pharma USA Inc.                                      Contingent
         100 Campus Drive                                           Unliquidated
         Suite 105                                                  Disputed
         Florham Park, NJ 07932
                                                                   Basis for the claim: Supplies
         Date(s) debt was incurred
         Last 4 digits of account number 0790                      Is the claim subject to offset?    No  Yes
3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,768.30
         FOX8 WGHP                                                  Contingent
         2005 Francis Street                                        Unliquidated
         High Point, NC 27263                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $4,738.06
         G&B Law LLP                                                Contingent
         16000 Ventura Blvd Suite 1000                              Unliquidated
         Encino, CA 91436-2730                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes


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3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $2,366.49
         GE Healthcare                                              Contingent
         P.O. BOX 640200                                            Unliquidated
         Pittsburgh, PA 15264-0200                                  Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $263,553.00
         Genzyme Corporation                                        Contingent
         450 Water Street                                           Unliquidated
         Cambridge, MA 02141                                        Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $17,457.84
         Golden Triangle #6-Avery, LLC                              Contingent
         c/o Levine Properties                                      Unliquidated
         8514 McAlpine Park Drive, Suite 190                        Disputed
         Charlotte, NC 28211
                                                                   Basis for the claim: Rent
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $35,779.50
         Google                                                     Contingent
         1600 Amphitheatre Parkway                                  Unliquidated
         Mountain View, CA 94043                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number 3495
                                                                   Is the claim subject to offset?    No  Yes
3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $105,676.25
         Griffin Communications LLC                                 Contingent
         dba KWTV-TV                                                Unliquidated
         7401 North Kelley Ave                                      Disputed
         Oklahoma City, OK 73111
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Date(s) debt was incurred 9/1/2021
                                                                   confirmed plan in Bankruptcy Case No. 2:19-bk-12927
         Last 4 digits of account number N/A
                                                                   Is the claim subject to offset?    No  Yes
3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $110,735.50
         Harris Mink Farms                                          Contingent
         24790 Kenridge Road                                        Unliquidated
         Caldwell, ID 83607                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Rent
         Last 4 digits of account number FLEXOGENIX
                                                                   Is the claim subject to offset?    No  Yes
3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $15,372.58
         Healthcare Realty                                          Contingent
         3310 West End Avenue Suite 700                             Unliquidated
         Nashville, TN 37203                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes


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3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $470.56
         Healthfirst                                                Contingent
         11629 49th Pl W                                            Unliquidated
         Mukilteo, WA 98275                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number 9242
                                                                   Is the claim subject to offset?    No  Yes
3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $38,813.00
         Henry Schein                                               Contingent
         135 Duryea Road                                            Unliquidated
         Melville, NY 11747                                         Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $270.00
         Heskin Martinez Law Group                                  Contingent
         390 N Orange Ave Suite 1550                                Unliquidated
         Orlando, FL 32801                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $313.84
         Imperial                                                   Contingent
         2020 North Mingo Road                                      Unliquidated
         Tulsa, OK 74116                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business Debt
         Last 4 digits of account number 8759
                                                                   Is the claim subject to offset?    No  Yes
3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $345,775.25
         Internal Revenue Service                                   Contingent
         PO BOX 7346                                                Unliquidated
         Philadelphia, PA 19101-7346                                Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $27,111.77
         Iris Whalen                                                Contingent
         PO BOX 125                                                 Unliquidated
         Artesia, CA 90702                                          Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $535.86
         Iron Mountain                                              Contingent
         2 Sun Court                                                Unliquidated
         Norcross, GA 30092                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes



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3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $12,586.25
         iScribeHealth                                              Contingent
         4322 Hardin Pike Suite 417                                 Unliquidated
         Nashville, TN 37205                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $224,634.84
         J&J Health Care Systems, Inc                               Contingent
         5972 Collections Center Dr                                 Unliquidated
         Chicago, IL 60693                                          Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $154,077.00
         J&J Healthcare Systems, Inc                                Contingent
         5972 Collections Center Dr                                 Unliquidated
         Chicago, IL 60693                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number 4572
                                                                   Is the claim subject to offset?    No  Yes
3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $6,545.50
         K&L Gates LLP                                              Contingent
         K&L Gates Center                                           Unliquidated
         210 Sixth Avenue                                           Disputed
         Pittsburgh, PA 15222
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Date(s) debt was incurred 9/1/2021
                                                                   confirmed plan in Bankruptcy Case No. 2:19-bk-12927
         Last 4 digits of account number 4692
                                                                   Is the claim subject to offset?    No  Yes
3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.50
         KOCO                                                       Contingent
         1300 East Britton Road                                     Unliquidated
         Oklahoma City, OK 73131                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $36,558.00
         LA Arena Funding, LLC                                      Contingent
         111 South Figueroa Street                                  Unliquidated
         Suite 3100                                                 Disputed
         Los Angeles, CA 90015
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Date(s) debt was incurred 9/1/2021
                                                                   confirmed plan in Bankruptcy Case No. 2:19-bk-12927
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $816.71
         Lincoln National Life Insurance Co.                        Contingent
         PO BOX 0821                                                Unliquidated
         Carol Stream, IL 60132-0821                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes



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3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $33,000.09
         Maple One Partners, LLC                                    Contingent
         c/o Samet Properties, LLC                                  Unliquidated
         309 Gallimore Dairy Road, Suite 102                        Disputed
         Greensboro, NC 27409
                                                                   Basis for the claim: Rent
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $8,005.17
         Mayflower Transit, LLC                                     Contingent
         22262 Network Place                                        Unliquidated
         Chicago, IL 60673-1222                                     Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $6,894.23
         McKesson                                                   Contingent
         6555 State Hwy 161                                         Unliquidated
         Irving, TX 75039                                           Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $6,275.26
         McKesson                                                   Contingent
         6555 State Hwy 161                                         Unliquidated
         Irving, TX 75039                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Supplies
         Last 4 digits of account number 3383
                                                                   Is the claim subject to offset?    No  Yes
3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $4,800.00
         MSKUS                                                      Contingent
         1035 E Vista Way #128                                      Unliquidated
         Vista, CA 92084                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $780.00
         NC Radiation Protection Section                            Contingent
         1645 Mail Service Center                                   Unliquidated
         Raleigh, NC 27699                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number 3946
                                                                   Is the claim subject to offset?    No  Yes
3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $15,519.00
         News & Record                                              Contingent
         511 Broad Street                                           Unliquidated
         South Boston, VA 24592                                     Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes


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3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $7,042.23
         Office of the United States Trustee                        Contingent
         915 Wilshire Blvd Suite 1850                               Unliquidated
         Los Angeles, CA 90017                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trustee Fees for bankruptcy case 1:19-bk-12927
         Last 4 digits of account number 2927
                                                                   Is the claim subject to offset?    No  Yes
3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,194.72
         OG&E                                                       Contingent
         PO BOX 321                                                 Unliquidated
         Oklahoma City, OK 73101-0321                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $9,332.00
         OPUM US Inc                                                Contingent
         1160 Battery Street East                                   Unliquidated
         Suite 100-#1066                                            Disputed
         San Francisco, CA 94111
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $7,125.00
         Organogenesis, Inc.                                        Contingent
         85 Dan Road                                                Unliquidated
         Canton, MA 02021                                           Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $20,275.00
         Outfront Media                                             Contingent
         185 US Highway 46                                          Unliquidated
         Fairfield, NJ 07004                                        Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $6,038.78
         Packard Commercial LLC                                     Contingent
         1526 S. Broadway                                           Unliquidated
         Los Angeles, CA 90015                                      Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      Unknown
         Paul Mogannam                                              Contingent
         1000 S. Westgate Avenue #201                               Unliquidated
         Los Angeles, CA 90049
                                                                    Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes

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3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $62.50
         Radiation Detection Company                                Contingent
         3527 Snead Drive                                           Unliquidated
         Georgetown, TX 78626                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,700.00
         Rubik Shared Services                                      Contingent
         122 Mandakini Enclave                                      Unliquidated
         Alakanda, New Delhi 110019, India                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $31,236.73
         Sandy Springs Gateway Owner, LLC                           Contingent
         800 Vanderbilt Beach Road                                  Unliquidated
         Naples, FL 34108                                           Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $237,746.29
         Sean Whalen                                                Contingent
         PO BOX 125                                                 Unliquidated
         Artesia, CA 90702                                          Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $59.50
         Shred Ace, Inc                                             Contingent
         1500 E Club Blvd                                           Unliquidated
         Durham, NC 27704                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Shredding Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3.26
         Smart Business System                                      Contingent
         4807 Melrose Ave                                           Unliquidated
         Los Angeles, CA 90029                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $31,451.75
         Smith Anderson Blount Dorsett                              Contingent
         Mitchell & Jernigan LLP                                    Unliquidated
         150 Fayetteville Street Suite 2300                         Disputed
         Raleigh, NC 27601-1395
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Date(s) debt was incurred 9/1/2021
                                                                   confirmed plan in Bankruptcy Case No. 2:19-bk-12927
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes



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3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $144.00
         Spectrotel                                                 Contingent
         PO BOX 1949                                                Unliquidated
         Newark, NJ 07101-1949                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number 2124
                                                                   Is the claim subject to offset?    No  Yes
3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $9,075.22
         Spectrum Enterprise                                        Contingent
         1900 Blue Crest Ln                                         Unliquidated
         San Antonio, TX 78247                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $4,644.08
         Staples Advantage                                          Contingent
         Dept LA                                                    Unliquidated
         PO Box 83689                                               Disputed
         Chicago, IL 60696-3689
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Date(s) debt was incurred 9/1/2021
                                                                   confirmed plan in Bankruptcy Case No. 2:19-bk-12927
         Last 4 digits of account number 5354
                                                                   Is the claim subject to offset?    No  Yes
3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $12,933.96
         The Charlotte Observer                                     Contingent
         9140 Research Drive                                        Unliquidated
         Charlotte, NC 28262                                        Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number 9165                      confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $4,325.67
         The Doctors Company                                        Contingent
         185 Greenwood Road                                         Unliquidated
         Napa, CA 94558-0030                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $13,212.00
         The News & Observer                                        Contingent
         421 Fayetteville Street Suite 104                          Unliquidated
         Raleigh, NC 27601                                          Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number 2235                      confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $894.60
         UMZUZU                                                     Contingent
         6750 W 75th Street Ste 3B                                  Unliquidated
         Overland Park, KS 66204                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes



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3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $2,143.49
         United Healthcare                                          Contingent
         Attn: UHC/CDM                                              Unliquidated
         185 Asylum Street                                          Disputed
         Hartford, CT 06103
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Date(s) debt was incurred 9/1/2021
                                                                   confirmed plan in Bankruptcy Case No. 2:19-bk-12927
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $9,717.82
         United Healthcare                                          Contingent
         Attn: UHC/CDM                                              Unliquidated
         185 Asylum Street                                          Disputed
         Hartford, CT 06103
                                                                   Basis for the claim: Business debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $26,889.75
         WAGA Fox 5 Atlanta                                         Contingent
         1551 Briarcliff Road NE                                    Unliquidated
         Atlanta, GA 30306                                          Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $130,841.25
         WCNC/WFMY                                                  Contingent
         c/o CCR                                                    Unliquidated
         20 Broad Hollow Road Suite 1002                            Disputed
         Melville, NY 11747
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Date(s) debt was incurred 9/1/2021
                                                                   confirmed plan in Bankruptcy Case No. 2:19-bk-12927
         Last 4 digits of account number 4214
                                                                   Is the claim subject to offset?    No  Yes
3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $10,674.30
         WGCL TV                                                    Contingent
         425 14th Street NW                                         Unliquidated
         Atlanta, GA 30318                                          Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number                           confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $11,392.00
         White and Williams LLP                                     Contingent
         One Liberty Place                                          Unliquidated
         1650 Market Street Suite 1800                              Disputed
         Philadelphia, PA 19103-7395
                                                                   Basis for the claim: Attorney fees
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $74,810.00
         WNCN                                                       Contingent
         33096 Collections Center Drive                             Unliquidated
         Chicago, IL 60693                                          Disputed
         Date(s) debt was incurred 9/1/2021
                                                                   Basis for the claim: Allowed general unsecured claim as part of
         Last 4 digits of account number N/A                       confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                   Is the claim subject to offset?    No  Yes
Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 24 of 29
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Debtor       Flexogenix Group, Inc.                                                                 Case number (if known)
             Name


3.102     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $11,459.22
          WRAL-FM                                                           Contingent
          3100 Highwoods Blvd Suite 140                                     Unliquidated
          Raleigh, NC 27604                                                 Disputed
          Date(s) debt was incurred 9/1/2021
                                                                           Basis for the claim: Allowed general unsecured claim as part of
          Last 4 digits of account number                                  confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                           Is the claim subject to offset?    No  Yes
3.103     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $18,938.00
          WRAL-FM                                                           Contingent
          3100 Highwoods Blvd Suite 140                                     Unliquidated
          Raleigh, NC 27604                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Business debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.104     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $239,721.95
          WSB-TV                                                            Contingent
          1601 West Peachtree Street NE                                     Unliquidated
          Atlanta, GA 30309                                                 Disputed
          Date(s) debt was incurred 9/1/2021
                                                                           Basis for the claim: Allowed general unsecured claim as part of
          Last 4 digits of account number 220D                             confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                           Is the claim subject to offset?    No  Yes
3.105     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $37,700.00
          WSOC-TV                                                           Contingent
          235 W 23rd Street                                                 Unliquidated
          Charlotte, NC 28206                                               Disputed
          Date(s) debt was incurred 9/1/2021
                                                                           Basis for the claim: Allowed general unsecured claim as part of
          Last 4 digits of account number 220D                             confirmed plan in Bankruptcy Case No. 2:19-bk-12927
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       310 Architecture + Interiors PA
          PO BOX 97935                                                                              Line     3.1
          Raleigh, NC 27624-7935
                                                                                                          Not listed. Explain

4.2       Accell Orthopedics, Inc
          PO Box 8702                                                                               Line     3.4
          Wilmington, DE 19899
                                                                                                          Not listed. Explain

4.3       Arent Fox
          555 West 5th Street 48th Floor                                                            Line     3.65
          Los Angeles, CA 90013
                                                                                                          Not listed. Explain




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Debtor      Flexogenix Group, Inc.                                          Case number (if known)
            Name

         Name and mailing address                                           On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                            related creditor (if any) listed?         account number, if
                                                                                                                      any
4.4      Becket and Lee LLP
         PO BOX 3001                                                        Line   3.8
         Malvern, PA 19355-0701
                                                                                  Not listed. Explain

4.5      Becket and Lee LLP
         PO BOX 3001                                                        Line   3.9
         Malvern, PA 19355-0701
                                                                                  Not listed. Explain

4.6      Becket and Lee LLP
         PO BOX 3001                                                        Line   3.10
         Malvern, PA 19355-0701
                                                                                  Not listed. Explain

4.7      Bioventus
         P.O. Box 732823                                                    Line   3.17
         Dallas, TX 75373-2823
                                                                                  Not listed. Explain

4.8      Bioventus
         P.O. Box 732823                                                    Line   3.18
         Dallas, TX 75373-2823
                                                                                  Not listed. Explain

4.9      Bluevine
         830 3rd Street                                                     Line   3.20
         Gretna, LA 70053
                                                                                  Not listed. Explain

4.10     Bluevine
         111 Town Square Place                                              Line   3.20
         Jersey City, NJ 07310
                                                                                  Not listed. Explain

4.11     Boyd Law PC
         300 Spectrum Center Drive                                          Line   3.80
         Suite 1185
         Irvine, CA 92618                                                         Not listed. Explain


4.12     Capital One, N.A.
         PO BOX 30285                                                       Line   3.21
         Salt Lake City, UT 84130-0285
                                                                                  Not listed. Explain

4.13     DEX Imaging
         PO BOX 17299                                                       Line   3.36
         Clearwater, FL 33762
                                                                                  Not listed. Explain

4.14     Diagnostic Physics Inc
         P.O. Box 49587                                                     Line   3.37
         Charlotte, NC 28277
                                                                                  Not listed. Explain

4.15     Fox Rothchild LLP
         321 North Clark Street                                             Line   3.4
         Suite 800
         Chicago, IL 60654                                                        Not listed. Explain


4.16     FOX8 WGHP
         PO BOX 417868                                                      Line   3.44
         Boston, MA 02241-7868
                                                                                  Not listed. Explain



Official Form 206 E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 26 of 29
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Debtor      Flexogenix Group, Inc.                                          Case number (if known)
            Name

         Name and mailing address                                           On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                            related creditor (if any) listed?         account number, if
                                                                                                                      any
4.17     Hawley Troxell Ennis & Hawley LLP
         877 W. Main Street, 2nd Floor                                      Line   3.11
         Boise, ID 83702
                                                                                  Not listed. Explain

4.18     Hawley Troxell Ennis & Hawley LLP
         PO BOX 1617                                                        Line   3.11
         Boise, ID 83701
                                                                                  Not listed. Explain

4.19     K&L Gates LLP
         P.O. BOX 844255                                                    Line   3.63
         Boston, MA 02284-4255
                                                                                  Not listed. Explain

4.20     Los Angeles Attorney's Office
         200 N Main Street                                                  Line   2.10
         Suite 920
         Los Angeles, CA 90012                                                    Not listed. Explain


4.21     Los Angeles Attorney's Office
         200 N Main Street                                                  Line   3.31
         Suite 920
         Los Angeles, CA 90012                                                    Not listed. Explain


4.22     McGuire Woods LLP
         77 W. Wacker Dr.                                                   Line   3.5
         Ste. 4100
         Chicago, IL 60601                                                        Not listed. Explain


4.23     McGuire Woods LLP
         77 W. Wacker Dr.                                                   Line   3.6
         Ste. 4100
         Chicago, IL 60601                                                        Not listed. Explain


4.24     Michael Biddinger Real Estate
         12020 North Pennsylvania Ave                                       Line   3.51
         Oklahoma City, OK 73120
                                                                                  Not listed. Explain

4.25     News & Record
         PO BOX 26983                                                       Line   3.73
         Richmond, VA 23261-6983
                                                                                  Not listed. Explain

4.26     Outfront Media
         c/o Szabo Associates Inc                                           Line   3.78
         3355 Lenox Road NE Suite 945
         Atlanta, GA 30326                                                        Not listed. Explain


4.27     Pepper Hamilton LLP
         Hercules Plaza Suite 5100                                          Line   3.17
         1313 Market St PO BOX 1709
         Wilmington, DE 19899-1709                                                Not listed. Explain


4.28     Pepper Hamilton LLP
         Hercules Plaza Suite 5100                                          Line   3.18
         1313 Market St PO BOX 1709
         Wilmington, DE 19899-1709                                                Not listed. Explain




Official Form 206 E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 27 of 29
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Debtor      Flexogenix Group, Inc.                                                     Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                       related creditor (if any) listed?         account number, if
                                                                                                                                 any
4.29      Sandy Springs Gateway Owner LLC
          PO BOX 392643                                                                Line   3.83
          Pittsburgh, PA 15251
                                                                                             Not listed. Explain

4.30      Sanofi US
          55 Corporate Drive                                                           Line   3.47
          Bridgewater, NJ 08807
                                                                                             Not listed. Explain

4.31      The News & Observer
          215 S. McDowell St                                                           Line   3.93
          Raleigh, NC 27601
                                                                                             Not listed. Explain

4.32      WAGA
          New World Communications of Atlanta                                          Line   3.97
          PO BOX 100610
          Atlanta, GA 30384-0610                                                             Not listed. Explain


4.33      WAGA Television
          c/o Szabo Associates Inc                                                     Line   3.97
          3355 Lenox Road NE Suite 945
          Atlanta, GA 30326                                                                  Not listed. Explain


4.34      Wcnc-Tv, Inc.
          1001 Woodrdg Ctr Dr                                                          Line   3.98
          Charlotte, NC 28217
                                                                                             Not listed. Explain

4.35      WGCL TV
          c/o Szabo Associates Inc                                                     Line   3.99
          3355 Lenox Road NE Suite 945
          Atlanta, GA 30326                                                                  Not listed. Explain


4.36      WNCN CBS 17
          1205 Front Street                                                            Line   3.101
          Raleigh, NC 27609
                                                                                             Not listed. Explain

4.37      WRAL-FM
          c/o Szabo Associates Inc                                                     Line   3.102
          3355 Lenox Road NE Suite 945
          Atlanta, GA 30326                                                                  Not listed. Explain


4.38      WRAL-FM
          c/o Szabo Associates Inc                                                     Line   3.103
          3355 Lenox Road NE Suite 945
          Atlanta, GA 30326                                                                  Not listed. Explain


4.39      WSB-TV
          Cox Enterprises, Inc.                                                        Line   3.104
          PO BOX 809036
          Chicago, IL 60680-9036                                                             Not listed. Explain


4.40      WSOC-TV
          PO BOX 34665                                                                 Line   3.105
          Charlotte, NC 28234
                                                                                             Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 28 of 29
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            Name

                                                                                         Total of claim amounts
5a. Total claims from Part 1                                               5a.       $                     79,108.69
5b. Total claims from Part 2                                               5b.   +   $                  6,058,626.35

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                    5c.       $                    6,137,735.04




Official Form 206 E/F                Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 29 of 29
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Fill in this information to identify the case:

Debtor name        Flexogenix Group, Inc.

                                             CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
United States Bankruptcy Court for the:      DIVISION

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Lease of commercial
             lease is for and the nature of       space located at 400
             the debtor's interest                Ashville Avenue, Suite
                                                  330, Cary, NC 27518
                State the term remaining          4 years 10 months
                                                                                    Flagship Cary, LLC
             List the contract number of any                                        2701 Coltsgate Road, Suite 300
                   government contract                                              Charlotte, NC 28211


2.2.         State what the contract or           Lease of commercial
             lease is for and the nature of       space located at 6836
             the debtor's interest                Morrison Blvd., Suite
                                                  101, Charlotte, NC
                                                  28211
                State the term remaining          4 years 3 months                  Golden Triangle #6-Avery, LLC
                                                                                    c/o Levine Properties
             List the contract number of any                                        8514 McAlpine Park Drive, Suite 190
                   government contract                                              Charlotte, NC 28211


2.3.         State what the contract or           Lease of commercial
             lease is for and the nature of       space located at 1414
             the debtor's interest                Yanceyville Street,
                                                  Suite 200, Greensboro,
                                                  NC 27405
                State the term remaining          2 years 11 months                 Maple One Partners, LLC
                                                                                    c/o Samet Properties, LLC
             List the contract number of any                                        309 Gallimore Dairy Road, Suite 102
                   government contract                                              Greensboro, NC 27409




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Flexogenix Group, Inc.

                                          CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
United States Bankruptcy Court for the:   DIVISION

Case number (if known)
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Flexogenix North            400 Ashville Ave Suite 330                               Pac Western                     D       2.2
          Carolina, PC                Cary, NC 27518                                           Financial LLC                    E/F
                                                                                                                               G



   2.2    Flexogenix                  400 Ashville Ave Suite 330                               Pac Western                     D       2.3
          Oklahoma, PC                Cary, NC 27518                                           Financial LLC                    E/F
                                                                                                                               G



   2.3    Sean Whalen                 PO BOX 125                                               Pac Western                     D       2.2
                                      Artesia, CA 90702                                        Financial LLC                    E/F
                                                                                                                               G



   2.4    Sean Whalen                 PO BOX 125                                               Pac Western                     D       2.3
                                      Artesia, CA 90702                                        Financial LLC                    E/F
                                                                                                                               G




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 2
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Debtor    Flexogenix Group, Inc.                                                  Case number (if known)



         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.5     Iris Whalen              PO BOX 125                                          Flagship Cary, LLC           D
                                   Artesia, CA 90702                                                                 E/F
                                   Guantee of lease of commercial space
                                   located at 400 Ashville Ave, Cary, NC
                                                                                                                    G      2.1
                                   27518




Official Form 206H                                              Schedule H: Your Codebtors                                   Page 2 of 2
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Fill in this information to identify the case:

Debtor name         Flexogenix Group, Inc.

                                            CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
United States Bankruptcy Court for the:     DIVISION

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       10/12/2023                      X
                                                             Signature of individual signing on behalf of debtor

                                                             Iris Whalen
                                                             Printed name

                                                             President
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:

Debtor name         Flexogenix Group, Inc.

                                           CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
United States Bankruptcy Court for the:    DIVISION

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                              $1,011,946.72
      From 1/01/2023 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                              $1,918,481.97
      From 1/01/2022 to 12/31/2022
                                                                                       Other


      For year before that:                                                            Operating a business                              $2,629,805.01
      From 1/01/2021 to 12/31/2021
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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Debtor       Flexogenix Group, Inc.                                                        Case number (if known)



      Creditor's Name and Address                             Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                  Check all that apply
      3.1.
              Aspen Medical Products                          Various                          $31,220.00          Secured debt
              6481 Oak Canyon                                 dates                                                Unsecured loan repayments
              Irvine, CA 92618                                                                                     Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.2.
              Cervos Medical                                  7/14/2023:                       $18,000.00          Secured debt
              475 School Street, Suite 12                     $3,600.00                                            Unsecured loan repayments
              Marshfield, MA 02050                            7/21/2023:                                           Suppliers or vendors
                                                              $3,600.00
                                                              9/25/2023:
                                                                                                                   Services
                                                              $10,800.00                                           Other

      3.3.
              Fidia Pharma USA Inc.                           Various                          $61,981.00          Secured debt
              100 Campus Drive                                dates                                                Unsecured loan repayments
              Suite 105                                                                                            Suppliers or vendors
              Florham Park, NJ 07932
                                                                                                                   Services
                                                                                                                   Other

      3.4.
              Google                                          Various                          $99,239.64          Secured debt
              1600 Amphitheatre Parkway                       dates                                                Unsecured loan repayments
              Mountain View, CA 94043                                                                              Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.5.
              J&J Healthcare Systems, Inc                     7/28/2023:                       $28,820.00          Secured debt
              5972 Collections Center Dr                      $28,820.00                                           Unsecured loan repayments
              Chicago, IL 60693                                                                                    Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.6.
              McKesson                                        Various                            $5,508.83         Secured debt
              6555 State Hwy 161                              dates                                                Unsecured loan repayments
              Irving, TX 75039                                                                                     Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other

      3.7.
              Spectrum Enterprise                             7/19/2023:                         $7,616.76         Secured debt
              1900 Blue Crest Ln                              $7,616.76                                            Unsecured loan repayments
              San Antonio, TX 78247                                                                                Suppliers or vendors
                                                                                                                   Services
                                                                                                                   Other




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Debtor       Flexogenix Group, Inc.                                                             Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    Iris Whalen                                          10/21/2022:                      $18,692.00           Salary Compensation and
              PO Box 125                                           $9,346.00                                             Perquisites
              Artesia, CA 90702                                    11/4/2022:
              President                                            $9,346.00

      4.2.    Sean Whalen                                          10/21/2022:                      $20,000.00           Salary Compensation and
              PO BOX 125                                           $10,000.00                                            Perquisites
              Artesia, CA 90702                                    11/4/2022:
              Director                                             $10,000.00

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None


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               Recipient's name and address            Description of the gifts or contributions                  Dates given                          Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Margulies Faith LLP                      Prepetition attorneys fees (including filing
                16030 Ventura Blvd., Ste. 470            fee): $10,000                                                 10/6/2023
                Encino, CA 91436                         Retainer: $20,000                                             10/11/2023               $30,000.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value
      13.1 Sean Whalen
      .    PO BOX 125
               Artesia, CA 90702                       Assumption of lease of 2022 BMS X5                         10/11/2023                           $0.00

               Relationship to debtor
               Director


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Debtor        Flexogenix Group, Inc.                                                             Case number (if known)




 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     7422 Garvey Avenue, Suite 203                                                                       5/2019 to 8/2023
                Rosemead, CA 91770

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

                Facility name and address              Nature of the business operation, including type of services             If debtor provides meals
                                                       the debtor provides                                                      and housing, number of
                                                                                                                                patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

      No.
          Yes. State the nature of the information collected and retained.

                 Personal information for medical practices
                 Does the debtor have a privacy policy about that information?
                  No
                  Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

      No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    Flexogenix Group, Inc. 401(k) Plan                                                  EIN: XX-XXXXXXX

                    Has the plan been terminated?
                     No
                     Yes

Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and           Last 4 digits of           Type of account or          Date account was                  Last balance
               Address                                  account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Daniel Stark, CPA                                                                                                  8/2017 to present
                    10440 North Central Expressway
                    Suite 800
                    Dallas, TX 75231
      26a.2.        Vivian Chen                                                                                                        8/2015 to present
                    400 Ashville Avenue Suite 330
                    Cary, NC 27518
      26a.3.        Rubik Shared Services                                                                                              11/2017 to present
                    122 Mandakini Enclave
                    Alakanda, New Delhi 110019, India
      26a.4.        Grobstein Teeple LLP                                                                                               4/2019 to present
                    6300 Canoga Avenue
                    Suite 1500W
                    Woodland Hills, CA 91367

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Daniel Stark                                                                                                       8/2017 to present
                    10440 North Central Expressway
                    Suite 800
                    Dallas, TX 75231

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.


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           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address
      26d.1.  Pac Western Financial LLC
                    222 S Main Street 5th Floor
                    Salt Lake City, UT 84101
      26d.2.        WebBank
                    c/o CAN Capital, Inc. as Servicer
                    2015 Vaughn Road NW Bldg 500
                    Kennesaw, GA 30144
      26d.3.        Bluevine
                    401 Warren Street
                    Redwood City, CA 94063
      26d.4.        1st Global Capital, LLC
                    1250 E. Hallandale Beach Blvd.
                    Suite 409
                    Hallandale Beach, FL 33009

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Iris Whalen                             PO BOX 125                                          President/CFO/Shareholder                 82.5%
                                              Artesia, CA 90702

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Sean Whalen                             PO BOX 125                                          Secretary/Shareholder                     15%
                                              Artesia, CA 90702

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Jack Miletic                            420 Washington Avenue, Apt. 203                     Shareholder                               1%
                                              Santa Monica, CA 90403

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Thomas Howard                           2754 Lake Waccamaw Trail                            Shareholder                               1.5%
                                              Apex, NC 27502



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
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          No
      Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      No
          Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Iris Whalen
      .    PO BOX 125
             Artesia, CA 90702                        See Item #4

             Relationship to debtor
             President/CFO


      30.2 Sean Whalen
      .    PO BOX 125
             Artesia, CA 90702                        See Item #4

             Relationship to debtor
             Secretary


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
      Yes. Identify below.
   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

      No
          Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund
   Flexogenix Group, Inc. 401(k) Plan                                                                 EIN:        XX-XXXXXXX




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Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         10/12/2023

                                                                Iris Whalen
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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B2030 (Form 2030) (12/15)
                                                      United States Bankruptcy Court
                                             Central District of California - Los Angeles Division
 In re       Flexogenix Group, Inc.                                                                           Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                       n/a
             Prior to the filing of this statement I have received                                        $                 30,000.00*
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:                                                 *Pre-petition attorney fees incurred
                                                                                                    (including filing fee) total $21,309.50,
              Debtor            Other (specify):
                                                                                                    with a balance of $8,690.50 held in trust.
3.   The source of compensation to be paid to me is:

              Debtor            Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]


6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     October 12, 2023                                                         /s/ Jeremy W. Faith
     Date                                                                     Jeremy W. Faith
                                                                              Signature of Attorney
                                                                              Margulies Faith LLP
                                                                              16030 Ventura Blvd., Suite 470
                                                                              Encino, CA 91436
                                                                              (818) 705-2777 Fax: (818) 705-3777
                                                                              Jeremy@MarguliesFaithLaw.com
                                                                              Name of law firm
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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
 Email Address

 JEREMY W. FAITH (State Bar No. 190647)
 Jeremy@MarguliesFaithlaw.com
 ANNA LANDA (State Bar No. 276607)
 Anna@MarguliesFaithlaw.com
 SAM BOYAMIAN (State Bar No. 316877)
 Sam@MarguliesFaithlaw.com
 MARGULIES FAITH, LLP
 16030 Ventura Blvd., Suite 470
 Encino, CA 91436
 Telephone: (818) 705-2777
 Facsimile: (818) 705-3777


      Attorney for: Flexogenix Group, Inc.

                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                               DIVISION

 In re:
                                                                             CASE NO.:
 Flexogenix Group, Inc.
                                                                             ADVERSARY NO.:
                                                                             CHAPTER: 11
                                                             Debtor(s).



                                                                                   CORPORATE OWNERSHIP STATEMENT
                                                                                      PURSUANT TO FRBP 1007(a)(1)
                                                            Plaintiff(s),               and 7007.1, and LBR 1007-4



                                                                                                           [No hearing]
                                                         Defendant(s).



Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a
debtor in a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying
all its parent corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly
own 10% or more of any class of the corporation’s equity interest, or state that there are no entities to report. This
Corporate Ownership Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary
proceeding. A supplemental statement must promptly be filed upon any change in circumstances that renders this
Corporate Ownership Statement inaccurate.

I, (Printed name of attorney or declarant) Iris Whalen                                            , the undersigned in
the above-captioned case, hereby declare under penalty of perjury under the laws of the United States that the following
is true and correct:




            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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[Check the appropriate boxes and, if applicable, provide the required information.]

1. I have personal knowledge of the matters set forth in this Statement because:

            l am the president or other officer or an authorized agent of the Debtor corporation
            I am a party to an adversary proceeding
            I am a party to a contested matter
            I am the attorney for the Debtor corporation

2.a.        The following entities, other than the Debtor or a governmental unit, directly or indirectly own 10% or more of
            any class of the corporation’s(s’) equity interests:
        Iris Whalen - 82.5%
        Sean P. Whlaen - 15%

        [For additional names, attach an addendum to this form.]

  b.        There are no entities that directly or indirectly own 10% or more of any class of the corporation’s equity
            interest.



Date:    10/12/2023                                                             By:
                                                                                      Signature of Debtor, or attorney for Debtor


                                                                                Name: Iris Whalen, President
                                                                                      Printed name of Debtor, or attorney for Debtor




          This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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Attorney or Party Name, Address, Telephone & FAX Nos.,                           FOR COURT USE ONLY
State Bar No. & Email Address
Jeremy W. Faith
16030 Ventura Blvd., Suite 470
Encino, CA 91436
(818) 705-2777 Fax: (818) 705-3777
California State Bar Number: 190647 CA
Jeremy@MarguliesFaithLaw.com




 Debtor(s) appearing without an attorney
 Attorney for Debtor

                                         UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

In re:
                                                                                 CASE NO.:
            Flexogenix Group, Inc.
                                                                                 CHAPTER: 11




                                                                                                     VERIFICATION OF MASTER
                                                                                                    MAILING LIST OF CREDITORS

                                                                                                                   [LBR 1007-1(a)]

                                                              Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 21 sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date:     10/12/2023
                                                                                         Signature of Debtor 1

Date:
                                                                                         Signature of Debtor 2 (joint debtor) ) (if applicable)

Date:
                                                                                         Signature of Attorney for Debtor (if applicable)




                  This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                      F 1007-1.MAILING.LIST.VERIFICATION
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x




                       310 Architecture + Interiors PA
                       302 Jefferson Street
                       Suite 250
                       Raleigh, NC 27605


                       310 Architecture + Interiors PA
                       PO BOX 97935
                       Raleigh, NC 27624-7935


                       4imprint
                       101 Commerce St
                       Oshkosh, WI 54901


                       8X8, Inc.
                       Dept. 848080
                       Los Angeles, CA 90084-8080


                       Accell Orthopedics, Inc
                       800 Delaware Ave
                       Wilmington, DE 19801


                       Accell Orthopedics, Inc
                       PO Box 8702
                       Wilmington, DE 19899


                       Aeisha S Allen
                       11730 Fiddlers Roof Ln
                       Charlotte, NC 28277


                       Aetna Inc
                       151 Farminton Avenue
                       Hartford, CT 06156
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                   Aliya Omotohanmen
                   67 Victoria Heights Drive
                   Dallas, GA 30132


                   Amazon
                   PO BOX 960013
                   ORLANDO, FL 32896-0013


                   American Express
                   PO BOX 981535
                   El Paso, TX 79998-1535


                   Amit Jangam
                   600 Carraway Crossing Apt 1106
                   Chapel Hill, NC 27516


                   Angelina Evans
                   1749 N Serrano Ave Apt 207
                   Los Angeles, CA 90027


                   Anita Tiwari
                   224 Vista Brooke Drive
                   Morrisville, NC 27560


                   Anna Gordea
                   109 Holly Bay Ln
                   Holly Springs, NC 27540


                   Aramark Refreshment Services LLC
                   5880 Nolensville Pike
                   Nashville, TN 37211
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                   Arent Fox
                   555 West 5th Street 48th Floor
                   Los Angeles, CA 90013


                   Aspen Medical Products
                   6481 Oak Canyon
                   Irvine, CA 92618


                   Ayshea Vann
                   9808 Walkers Glen Drive NW
                   Concord, NC 28027


                   Bacon Health Corp/CG Medical
                   Device Services
                   4 Lauren Ave South
                   Huntington Station, NY 11746


                   Bank of America
                   PO BOX 982234
                   El Paso, TX 79998-2234


                   Becket and Lee LLP
                   PO BOX 3001
                   Malvern, PA 19355-0701


                   Bigleaf Networks
                   2850 SW Cedar Hills Blvd Suite 130
                   Beaverton, OR 97005-1354


                   Bioventus
                   4721 Emperor Blvd
                   Suite 100
                   Durham, NC 27703
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                   Bioventus
                   P.O. Box 732823
                   Dallas, TX 75373-2823


                   Bizmatics, Inc.
                   4010 Moorpark Ave., # 222
                   San Jose, CA 95117


                   Bluevine
                   401 Warren Street
                   Redwood City, CA 94063


                   Bluevine
                   830 3rd Street
                   Gretna, LA 70053


                   Bluevine
                   111 Town Square Place
                   Jersey City, NJ 07310


                   Boyd Law PC
                   300 Spectrum Center Drive
                   Suite 1185
                   Irvine, CA 92618


                   Caleb Buehner
                   2504 Evers Drive
                   Raleigh, NC 27610


                   Capital One, N.A.
                   1680 Capital One Drive
                   Mc Lean, VA 22102
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                   Capital One, N.A.
                   PO BOX 30285
                   Salt Lake City, UT 84130-0285


                   Capitol Cleaning OKC LP
                   11625 N. Santa Fe, Suite A
                   Oklahoma City, OK 73114


                   Cervos Medical
                   475 School Street, Suite 12
                   Marshfield, MA 02050


                   Chase Freedom
                   Card Services
                   PO BOX 15298
                   Wilmington, DE 19850


                   Chase Ink
                   Card Services
                   PO BOX 15298
                   Wilmington, DE 19850


                   Chase Sapphire
                   Card Services
                   PO BOX 15298
                   Wilmington, DE 19850


                   Chase Slate
                   Card Services
                   PO BOX 15298
                   Wilmington, DE 19850


                   Christine Jerome
                   1605 Cane Creek Drive
                   Garner, NC 27529
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                   CISLO&THOMAS LLP
                   12100 Wilshire Blvd Suite 1700
                   Los Angeles, CA 90025-7103


                   Citibank
                   PO BOX 6500
                   Sioux Falls, SD 57117-6500


                   City of Los Angeles
                   Office of Finance
                   200 North Spring Street
                   Room 101
                   Los Angeles, CA 90012


                   Clark Trevithick
                   445 S Figueroa Street
                   18th Floor
                   Los Angeles, CA 90071


                   CORFLEX
                   669 East Industrial Park Drive
                   Manchester, NH 03109


                   Cross Country Locums/Mint Physician
                   Staffing
                   6551 Park of Commerce Blvd
                   Boca Raton, FL 33487


                   De Forest & Associates, Inc
                   1145 Artesia Boulevard, #203
                   Manhattan Beach, CA 90266


                   DEX Imaging
                   5109 W Lemon Street
                   Tampa, FL 33609
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                   DEX Imaging
                   PO BOX 17299
                   Clearwater, FL 33762


                   Diagnostic Physics Inc
                   1710 Camden Unit 47
                   Charlotte, NC 28203


                   Diagnostic Physics Inc
                   P.O. Box 49587
                   Charlotte, NC 28277


                   Dione Butler
                   221 Coley Farm Road
                   Fuquay Varina, NC 27526


                   DJO, LLC
                   5919 Sea Otter Place
                   Suite 200
                   Carlsbad, CA 92010


                   DMVHUB
                   PO BOX 1021
                   Fuquay Varina, NC 27526


                   Elite2 LLC
                   5 Saratoga Dr
                   Collegeville, PA 19426


                   FedEx Corporate Services Inc
                   3895 Airways Blvd, Module G
                   3rd Floor
                   Memphis, TN 38116-5017
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                   Fidia Pharma USA Inc.
                   100 Campus Drive
                   Suite 105
                   Florham Park, NJ 07932


                   Flagship Cary, LLC
                   2701 Coltsgate Road, Suite 300
                   Charlotte, NC 28211


                   Fox Rothchild LLP
                   321 North Clark Street
                   Suite 800
                   Chicago, IL 60654


                   FOX8 WGHP
                   2005 Francis Street
                   High Point, NC 27263


                   FOX8 WGHP
                   PO BOX 417868
                   Boston, MA 02241-7868


                   Franchise Tax Board
                   Bankruptcy Section MS A340
                   PO BOX 2952
                   Sacramento, CA 95812-2952


                   G&B Law LLP
                   16000 Ventura Blvd Suite 1000
                   Encino, CA 91436-2730


                   GE Healthcare
                   P.O. BOX 640200
                   Pittsburgh, PA 15264-0200
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                   Genzyme Corporation
                   450 Water Street
                   Cambridge, MA 02141


                   Gina Morales
                   8458 Loxton Circle
                   Charlotte, NC 28214


                   Golden Triangle #6-Avery, LLC
                   c/o Levine Properties
                   8514 McAlpine Park Drive, Suite 190
                   Charlotte, NC 28211


                   Google
                   1600 Amphitheatre Parkway
                   Mountain View, CA 94043


                   Griffin Communications LLC
                   dba KWTV-TV
                   7401 North Kelley Ave
                   Oklahoma City, OK 73111


                   Guadalupe Aceveo Tirado
                   15 Tucker Farm Cir
                   Angier, NC 27501


                   Harris Mink Farms
                   24790 Kenridge Road
                   Caldwell, ID 83607


                   Hawley Troxell Ennis & Hawley LLP
                   877 W. Main Street, 2nd Floor
                   Boise, ID 83702
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                   Hawley Troxell Ennis & Hawley LLP
                   PO BOX 1617
                   Boise, ID 83701


                   Healthcare Realty
                   3310 West End Avenue Suite 700
                   Nashville, TN 37203


                   Healthfirst
                   11629 49th Pl W
                   Mukilteo, WA 98275


                   Heather Conard
                   7603 Taft Place
                   Indian Trail, NC 28079


                   Heba Atwy
                   15520 Baltinglass Court
                   Charlotte, NC 28273


                   Henry Schein
                   135 Duryea Road
                   Melville, NY 11747


                   Heskin Martinez Law Group
                   390 N Orange Ave Suite 1550
                   Orlando, FL 32801


                   Imperial
                   2020 North Mingo Road
                   Tulsa, OK 74116
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                   Internal Revenue Service
                   PO BOX 7346
                   Philadelphia, PA 19101-7346


                   Iris Whalen
                   PO BOX 125
                   Artesia, CA 90702


                   Iron Mountain
                   2 Sun Court
                   Norcross, GA 30092


                   iScribeHealth
                   4322 Hardin Pike Suite 417
                   Nashville, TN 37205


                   J&J Health Care Systems, Inc
                   5972 Collections Center Dr
                   Chicago, IL 60693


                   J&J Healthcare Systems, Inc
                   5972 Collections Center Dr
                   Chicago, IL 60693


                   Jennifer Charles
                   8 Foxfire Court
                   Greensboro, NC 27410


                   Jennifer Gosha Daniels
                   2521 Sandy Ridge Road
                   High Point, NC 27265
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                   K&L Gates LLP
                   K&L Gates Center
                   210 Sixth Avenue
                   Pittsburgh, PA 15222


                   K&L Gates LLP
                   P.O. BOX 844255
                   Boston, MA 02284-4255


                   KOCO
                   1300 East Britton Road
                   Oklahoma City, OK 73131


                   LA Arena Funding, LLC
                   111 South Figueroa Street
                   Suite 3100
                   Los Angeles, CA 90015


                   Lincoln National Life Insurance Co.
                   PO BOX 0821
                   Carol Stream, IL 60132-0821


                   Los Angeles Attorney's Office
                   200 N Main Street
                   Suite 920
                   Los Angeles, CA 90012


                   Los Angeles County Treasurer
                   and Tax Collector
                   500 W Temple St
                   Los Angeles, CA 90012


                   Lynne A Ridgel
                   965 North 16th East
                   Mountain Home, ID 83647
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                   Maple One Partners, LLC
                   c/o Samet Properties, LLC
                   309 Gallimore Dairy Road, Suite 102
                   Greensboro, NC 27409


                   Mayflower Transit, LLC
                   22262 Network Place
                   Chicago, IL 60673-1222


                   McGuire Woods LLP
                   77 W. Wacker Dr.
                   Ste. 4100
                   Chicago, IL 60601


                   McKesson
                   6555 State Hwy 161
                   Irving, TX 75039


                   Mecklenburg County Tax Collector
                   3205 Freedom Dr Suite 3000
                   Charlotte, NC 28208


                   Melissa McKenna
                   1122 Medlin Road
                   Durham, NC 27707


                   Michael Biddinger Real Estate
                   12020 North Pennsylvania Ave
                   Oklahoma City, OK 73120


                   MSKUS
                   1035 E Vista Way #128
                   Vista, CA 92084
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                   NC Radiation Protection Section
                   1645 Mail Service Center
                   Raleigh, NC 27699


                   News & Record
                   511 Broad Street
                   South Boston, VA 24592


                   News & Record
                   PO BOX 26983
                   Richmond, VA 23261-6983


                   Office of the United States Trustee
                   915 Wilshire Blvd Suite 1850
                   Los Angeles, CA 90017


                   OG&E
                   PO BOX 321
                   Oklahoma City, OK 73101-0321


                   OPUM US Inc
                   1160 Battery Street East
                   Suite 100-#1066
                   San Francisco, CA 94111


                   Organogenesis, Inc.
                   85 Dan Road
                   Canton, MA 02021


                   Outfront Media
                   185 US Highway 46
                   Fairfield, NJ 07004
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                   Outfront Media
                   c/o Szabo Associates Inc
                   3355 Lenox Road NE Suite 945
                   Atlanta, GA 30326


                   Pac Western Financial LLC
                   222 S Main Street 5th Floor
                   Salt Lake City, UT 84101


                   Packard Commercial LLC
                   1526 S. Broadway
                   Los Angeles, CA 90015


                   Paul Mogannam
                   1000 S. Westgate Avenue #201
                   Los Angeles, CA 90049


                   Pepper Hamilton LLP
                   Hercules Plaza Suite 5100
                   1313 Market St PO BOX 1709
                   Wilmington, DE 19899-1709


                   Radiation Detection Company
                   3527 Snead Drive
                   Georgetown, TX 78626


                   Rene L McClanahan
                   1026 E Woodcrest Dr
                   Raleigh, NC 27603


                   Rubik Shared Services
                   122 Mandakini Enclave
                   Alakanda, New Delhi 110019, India
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                   Sallie Young
                   646 4th Street Northeast
                   Hickory, NC 28601


                   Sandy Springs Gateway Owner LLC
                   PO BOX 392643
                   Pittsburgh, PA 15251


                   Sandy Springs Gateway Owner, LLC
                   800 Vanderbilt Beach Road
                   Naples, FL 34108


                   Sanofi US
                   55 Corporate Drive
                   Bridgewater, NJ 08807


                   Sean Whalen
                   PO BOX 125
                   Artesia, CA 90702


                   Sejal Mankad
                   1937 Custom Lane
                   Apex, NC 27502


                   Shannon E Boyd
                   8132 Green Lantern St
                   Raleigh, NC 27613


                   Shred Ace, Inc
                   1500 E Club Blvd
                   Durham, NC 27704
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                   Smart Business System
                   4807 Melrose Ave
                   Los Angeles, CA 90029


                   Smith Anderson Blount Dorsett
                   Mitchell & Jernigan LLP
                   150 Fayetteville Street Suite 2300
                   Raleigh, NC 27601-1395


                   Spectrotel
                   PO BOX 1949
                   Newark, NJ 07101-1949


                   Spectrum Enterprise
                   1900 Blue Crest Ln
                   San Antonio, TX 78247


                   Staples Advantage
                   Dept LA
                   PO Box 83689
                   Chicago, IL 60696-3689


                   Tate Marihew
                   166 True Blue Drive
                   Broadway, NC 27505


                   The Charlotte Observer
                   9140 Research Drive
                   Charlotte, NC 28262


                   The Doctors Company
                   185 Greenwood Road
                   Napa, CA 94558-0030
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                   The News & Observer
                   421 Fayetteville Street Suite 104
                   Raleigh, NC 27601


                   The News & Observer
                   215 S. McDowell St
                   Raleigh, NC 27601


                   Thomas M Howard
                   2754 Lake Waccamaw Trl
                   Apex, NC 27502


                   Thomas O'Farrell
                   133 Cypress Landing Drive
                   Mooresville, NC 28117


                   UMZUZU
                   6750 W 75th Street Ste 3B
                   Overland Park, KS 66204


                   United Healthcare
                   Attn: UHC/CDM
                   185 Asylum Street
                   Hartford, CT 06103


                   WAGA
                   New World Communications of Atlanta
                   PO BOX 100610
                   Atlanta, GA 30384-0610


                   WAGA Fox 5 Atlanta
                   1551 Briarcliff Road NE
                   Atlanta, GA 30306
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                   WAGA Television
                   c/o Szabo Associates Inc
                   3355 Lenox Road NE Suite 945
                   Atlanta, GA 30326


                   Waynetta Knight
                   1130 Waterlyn Dr
                   Greensboro, NC 27405


                   Wcnc-Tv, Inc.
                   1001 Woodrdg Ctr Dr
                   Charlotte, NC 28217


                   WCNC/WFMY
                   c/o CCR
                   20 Broad Hollow Road Suite 1002
                   Melville, NY 11747


                   Wendy Hare
                   2411 Quaker Landing Road
                   Greensboro, NC 27455


                   WGCL TV
                   425 14th Street NW
                   Atlanta, GA 30318


                   WGCL TV
                   c/o Szabo Associates Inc
                   3355 Lenox Road NE Suite 945
                   Atlanta, GA 30326


                   White and Williams LLP
                   One Liberty Place
                   1650 Market Street Suite 1800
                   Philadelphia, PA 19103-7395
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                   WNCN
                   33096 Collections Center Drive
                   Chicago, IL 60693


                   WNCN CBS 17
                   1205 Front Street
                   Raleigh, NC 27609


                   WRAL-FM
                   3100 Highwoods Blvd Suite 140
                   Raleigh, NC 27604


                   WRAL-FM
                   c/o Szabo Associates Inc
                   3355 Lenox Road NE Suite 945
                   Atlanta, GA 30326


                   WSB-TV
                   1601 West Peachtree Street NE
                   Atlanta, GA 30309


                   WSB-TV
                   Cox Enterprises, Inc.
                   PO BOX 809036
                   Chicago, IL 60680-9036


                   WSOC-TV
                   235 W 23rd Street
                   Charlotte, NC 28206


                   WSOC-TV
                   PO BOX 34665
                   Charlotte, NC 28234
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                   Yaoshan Vivian Lung
                   11514 215th St Unit 3
                   Lakewood, CA 90715


                   Yi Pei Lu
                   18821 Carreta Dr
                   Rowland Heights, CA 91748
